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Mark Oium, Esq. (CSB 79327)
Dana K. Oium, Esq. (CSB 297097)
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Attorneys for Defendant KONE INC.

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA

SAN FRANCISCO DIVISION
JAYDEN TOTAH, MINOR, BY AND USDC Case No.
THROUGH HIS GUARDIAN AD LITEM; | |
ANNE-MARIE TOTAH; ERIC TOTAH, — | 8a". Exancisco Superior Court Case No. CGC-
Plaintifts, DEFENDANT KONE INC.’S NOTICE OF

REMOVAL OF ACTION PURSUANT TO

y. 28 U.S.C. §§ 1332, 1441(b), AND 1446

KONE CORPORATION;
THYSSENKRUPP ELEVATOR AMERICA;
CITY & COUNTY OF SAN FRANCISCO;
and DOES I to 15, inclusive.

Action Filed: | February 20, 2019
Defendants. Trial Date: None Set

 

TO THE CLERK OF THE UNITED STATES DISTRICT COURT FOR THE
NORTHERN DISTRICT OF CALIFORNIA, PLAINTIFFS, AND THEIR ATTORNEYS
OF RECORD:

PLEASE TAKE NOTICE THAT Defendant KONE, Inc., (hereinafter “KONE”)
hereby removes this action currently pending in the Superior Court of the State of California,
County of San Francisco, Case Number CGC-19-573894, to the United States District Court for
the Northern District of California. Removal is based on 28 U.S.C. sections 1332, 1441(b), and
1446. In support of its Notice of Removal, KONE offers the following:

 

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DEFENDANT KONE INC.’S NOTICE OF REMOVAL OF ACTION PURSUANT TO 28 U.S.C, §§ 1332,
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I. PROCEDURAL BACKGROUND AND RELEVANT FACTS.

1, On February 20, 2019, plaintiffs Jayden Totah, a minor, by and through his
Guardian Ad Litem, Eric Totah, Anne-Marie Totah, and Eric Totah (hereinafter “Plaintiffs”)
filed an action in the Superior Court of the State of California for the County of San Francisco
entitled Jayden Totah, by and through his Guardian Ad Litem, Anne-Marie Totah vs. Kone
Corporation, Case Number CGC-19-573894. Plaintiffs’ complaint alleges causes of action for
negligence, premises liability and products liability arising out of an incident that occurred on
April 8, 2018 at San Francisco International Airport. Plaintiff Jayden Totah, a minor, allegedly
fell on an escalator and suffered an amputation of his small finger. His mother, Anne-Marie
Totah, alleges emotional distress based on observing this incident.

2, On approximately March 12, 2019, plaintiffs served KONE with their summons
and complaint. A copy of the summons, complaint and accompanying papers received by
KONE in the state court action are attached as Exhibit A.

3, At the initial time of the complaint’s filing, diversity between the parties was not
apparent from the face of plaintiffs’ form complaint, and therefore KONE was not able to
ascertain whether removal of this action to federal court was proper at that time.

4, KONE filed its Answer to plaintiffs’ Complaint on June 3, 2019. A copy of
KONE’s Answer is attached hereto as Exhibit B.

5, On or about June 10, 2019, KONE learned that at the time of the incident at San
Francisco International Airport, plaintiffs were traveling to the Netherlands, This prompted
KONE to review the San Francisco Superior Court docket to determine whether the other named
defendants had been served with the Complaint. Upon review, KONE discovered the Guardian
Ad Litem Application and Order filed by plaintiffs appointing plaintiff Eric Totah as plaintiff
Jayden Totah’s Guardian Ad Litem which provides that Eric Totah is a resident of the State of
Hawaii. A copy of the Application and Order for Appointment of Guardian Ad Litem is attached
hereto as Exhibit C.

6, Plaintiffs’ Complaint also names the City and County of San Francisco and

ThyssenKrupp Elevator America as defendants. It is KONE’s understanding and belief that

 

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DEFENDANT KONE INC.’S NOTICE OF REMOVAL OF ACTION PURSUANT TO 28 U.S.C. §§ 1332,
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defendants City and County of San Francisco and ThyssenKrupp have been served with process
and have served their responsive pleadings but are pending filing with San Francisco Superior
Court. Copies of the Answers served by defendants City and County of San Francisco and
ThyssenKrupp are attached hereto as Exhibit D, KONE understands and believes that
defendants City and County of San Francisco and ThyssenKrupp will join in the removal of this
action.

7. This action is one over which this Court has original jurisdiction pursuant to 28
U.S.C. section 1332(a) and (b), and the entire action is subject to removal under 28 U.S.C.
section 1441(b) based on the following grounds: plaintiffs are citizens of the State of Hawaii and
defendant KONE is a citizen of the States of Delaware and Illinois, and the amount in
controversy exceeds $75,000.00, exclusive of interests or costs. Defendant ThyssenKrupp is a
citizen of the States of Delaware and Georgia. Defendant City and County of San Francisco is a
citizen of the State of California.

8. Having only discovered the existence of plaintiff Jayden Totah’s citizenship, a
minor, by and through his Guardian Ad Litem, through KONE’s independent investigation of the
Court’s docket, KONE’s Notice of Removal is timely filed within 30 days of first ascertaining
that diversity of citizenship exists as grounds for removing this matter pursuant to 28 U.S.C.
section 1446(b)(3),

Il. REMOVAL IS PROPER BECAUSE THIS COURT HAS SUBJECT MATTER
JURISDICTION PURSUANT TO 28 U.S.C. SECTIONS 1332, 1441 AND 1446.

A. Removal Is Timely.

9. KONE has timely filed and served its Notice of Removal in compliance with 28
U.S.C. section 1446(b), which provides for two thirty-day periods for removal based on diversity
jurisdiction. (Kuxhausen v. BMW Financial Services NA LLC (9th Cir. 2013) 707 F.3d 1136,
1139 (citations omitted).) “The first thirty-day removal period is triggered if the case stated by
the initial pleading is removable on its face.” (/d.) “The second thirty-day removal period is
triggered if the initial pleading does not indicate that the case is removable, and the defendant
receives ‘a copy of an amended pleading, motion, order or other paper’ from which removability

may first be ascertained.” (/d., quoting 28 U.S.C. § 1446(b).)

 

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10. Plaintiffs’ form complaint does not provide any information as to the citizenship
of the plaintiffs. KONE did not receive a copy of the Application and Order for Appointment of
Guardian. Ad Litem with the complaint or by other means from plaintiffs. It was not until
KONE’s counsel and plaintiffs’ counsel discussed the case, that counsel for KONE was
prompted to review the Court docket for additional information to whether other defendants had
been served and obtain the Application and Order for Appointment of Guardian Ad Litem, that
KONE was able to determine citizenship of plaintiffs.

11. Having only discovered the citizenship of plaintiff Jayden Totah, by and through
his Guardian Ad Litem, after June 10, 2019, through its independent investigation of the Court’s
docket, KONE’s Notice of Removal is timely filed within 30 days of the first ascertainment that
diversity of citizenship exists as grounds for removing this matter pursuant to 28 U.S.C. section
1446(b)(3).

B, Complete Diversity Exists.

12. There is complete diversity between plaintiffs and defendants.

13. At the time of filing plaintiffs form complaint, diversity between the parties was
not apparent on its face. Plaintiffs’ complaint does not identify the citizenship of plaintiffs,
(See, Exhibit A, Oium Decl., { 2.) KONE was under no duty to investigate potential facts for
removability when the complaint did not clearly and certainly disclose them. (Kuxhausen y.
BMW Financial Services NA LLC (9th Cir. 2013) 707 F.3d 1136, 1139; Harris v. Bankers Life &
Cas. Co. (9th Cir. 2005) 425 F.3d 689, 694.)

14. Through KONE’s independent investigation of the Court’s docket, it discovered
that plaintiff Jayden Totah, a minor, by and through his Guardian Ad Litem, Eric Totah, was and
is a resident and citizen of the State of Hawaii. (See, Exhibit C, Oium Decl., § 4.)

15. A corporation is a “citizen” of both the state in which it was incorporated and of
the state where it has its principal place of business. (28 U.S.C. § 1332(c).) Defendant KONE,

Inc., was and is a Delaware corporation with its principal place of business in Moline, Illinois,

 

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16. Defendant ThyssenKrupp Elevator Corporation (sued in the state court action as
“ThyssenKrupp Elevator America”) was and is a Delaware corporation with its principal place off
business in Alpharetta, Georgia.

17. Unless found to be “alter egos” of the state, cities, counties... are “citizens” of the
state for diversity purposes. Therefore, they may be sued in federal court on the basis of
diversity jurisdiction, (Moor v, County of Alameda (1973) 93 S.Ct. 1785, 1799.) Defendant City
and County of San Francisco is a citizen of the State of California.

18. Upon information and belief, defendants, City and County of San Francisco and
ThyssenKrupp, have been served with process in the state court action but their respective
Answers to plaintiffs’ Complaint are pending filing in the San Francisco Superior Court. All
defendants in the state court action normally must join in the notice of removal. (Doe y,

Kerwood (Sth Cir, 1992) 969 F.2d 165, 168; Parrino v. FHP, Inc. (9th Cir. 1998) 146 F.3d 699,
703.) KONE understands and believes that defendants City and County of San Francisco and
ThyssenKrupp will join in removal of this action.

19. | Upon information and belief, none of the DOE defendants have been substituted
with any named defendants or been served with process in the state court action. For purposes of
removal, “the citizenship of defendants sued under fictitious names shall be disregarded.” (28
US.C. § 1441(b)(1); Soliman v. Phillip Morris, Inc,, (9th Cir. 2002) 311 F.3d 966, 971.)
Therefore, citizenship of DOES 1 through 15 should be disregarded for purposes of diversity.

C. The Amount In Controversy Requirement Is Met.

20. A defendant may remove a case to federal court, if it is “facially apparent from
the allegations of the complaint that the amount in controversy will exceed $75,000.” (28 U.S.C.
§ 2446(c)(2); Lucett v. Delta Airlines (Sth Cir, 1999) 171 F.3d 295, 298; see also Dart Cherokee
Basin Operating Co., LLC v. Owens (2017) S.Ct. 547, 553.) When the amount in controversy is
not specified in the complaint, the court may consider the facts alleged in the complaint as well
as in the notice of removal. (Singer v. State Farm Mut. Auto Ins, Co. (9th Cir. 1997) 116 F.3d
373, 376; Simmons v. PCR Tech, (N.D. Cal. 2002) 209 F.Supp.2d 1029, 1031.)

 

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21. To determine the amount in controversy, a district court takes into account claims

|| for general damages, pain and suffering, out-of-pocket loss, emotional distress, and punitive

damages. (Richmond v. Allstate Ins. Co, (S.D. Cal. 1995) 897 F.Supp.447, 449-50.)
Additionally, the “amount in controversy is not measured by the low end of an open-ended
claim, but rather by a reasonable reading of the value of the rights being litigated.” (Kenneth
Rothschild Trust v. Morgan Stanley Dean Witter (C.D. Cal. 2002) 199 F.Supp.2d 993, 1001
(quoting Angus v. Shiley, Inc. (3d Cir. 1993) 989 F.2d 142, 146).) “When the Court ‘considers
the additional elements of pain and suffering and future damages, one can easily conclude the
amount in controversy is satisfied.’”” (Evans v. CDX, Servs., LLC, (S.D.W. Va 2007) 528
F.Supp.2d 599, 606.)

22, Plaintiffs’ form complaint provides that the case is an unlimited civil case where
damages exceed $25,000. Plaintiff Jayden Totah seeks to recover general and special damages,
including medical and hospital bills, and pain and suffering, as a result of a “traumatic
amputation of his little finger.” (Exhibit A, p. 1, 3-4.) It is KONE’s understanding and belief
that Jayden was hospitalized and underwent reconstructive surgery to his little finger
immediately following the incident. KONE has also been informed that Jayden may require a
future surgery on his little finger. Given the severity of Jayden’s alleged injury, his claim for
past and future medical care, and his medical and hospital bills will likely exceed $75,000.

When his pain and suffering is added to the equation, Jayden’s claim easily satisfies the amount
in controversy requirement.

23. Plaintiff Anne-Marie Totah, Jayden’s mother, also allegedly suffered emotional
distress “by virtue of a contemporaneous sensory observation and awareness of her child’s
injury” as she was on the subject elevator with Jayden at the time of the incident. (Exhibit A, p.
4-5,) Accordingly, it is facially apparent from the complaint that plaintiffs’ claims are in excess
of $75,000.

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DEFENDANT KONE INC.’S NOTICE OF REMOVAL OF ACTION PURSUANT TO 28 U.S.C. §§ 1332,
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III. KONE HAS MET THE PROCEDURAL REQUIREMENTS FOR REMOVAL.

24. Pursuant to 28 U.S.C § 1446(d), a copy of this Notice of Removal is being served
on plaintiffs, and a copy is being filed with the Clerk of the Court for the Superior Court of the
State of California for the County of San Francisco.

25. This Notice of Removal is properly filed in the Northern District of California
pursuant to 28 U.S.C. § 1446(a).

26. The United States District Court for the Northern District of California, San
Francisco Division, is the proper district to where this matter should be assigned because it is the
District Court embracing the Superior Court of California, County of San Francisco, where
plaintiffs’ state court action is pending. (28 U.S.C. § 1441(a); 28 U.S.C. § 84(c)(1).)

27. Pursuant to 28 U.S.C. section 1446(a), a true and correct copy of all process,
pleadings and orders served upon all defendants in this action are attached hereto as Exhibits A
and D.

WHEREFORE, Defendant KONE, Inc., prays that this action be removed from the
Superior Court of the State of California for the County of San Francisco to the United States
District Court for the Northern District of California.

Respectfully submitted,
OIUM REYEN &PRYOR

WI
Dated: July 2, 2019 MKYy

Mark Oium, Esq. \
Dana K. Oium, Esq.
Attorneys for Defendant KONE Inc.

 

 

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CERTIFICATE OF SERVICE
Pursuant USDC Local Civil Rules, Rule 5-5(a)

Totah v KONE, et al.
United States District Court, Northern District Action No.
(San Francisco Superior Court Action No.: CGC-19-573894)

The undersigned hereby certifies that she is an employee of Oium Reyen & Pryor, 220
Montgomery Street, #910, San Francisco, CA and is a person of such age and discretion to be
competent to serve papers. The undersigned further certifies that on July 2, 2019, she caused a copy
of the following documents:

e Civil Cover Sheet; and
e Defendant KONE Inc.’s Notice of Removal of Action Pursuant to 28 U.S.C. §§ 1332,
1441(b), and 1446

to be served by First Class Mail upon the person at the place and address(es) stated below, which is the
current or last known address for said parties:

 

Joseph Hoffman, Esq. Anne M. Asiano, Esq.
Weinberg-Hoffman, LLC Matthew Brand, Esq.

679 Bridgeway Clark Hill LLP

Sausalito, CA 94965 One Embarcadero Center, #400
Attorney for Plaintiffs San Francisco, CA 94111

Attorneys for Defendant City and County of
San Francisco

 

Christopher T. Olsen, Esq.

Olsen & Brueggemann, APC

2150 Park Place, Suite 100

El] Segundo, CA 90245

Attorney for Defendant ThyssenKrupp

 

 

 

 

I declare under penalty of perjury under the laws of the United States and the State of California
that the foregoing is true and correct, and this Certificate of Service was executed on July 2, 2019 in
San Francisco, California.

{ww ny .
Sue San Fong | |

 

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EXHIBIT A
Case 3:19-cv-03842-JSC Document1 Filed 07/02/19 Page 10 of 59

 

CSC

 

null / ALL
5 © Transmittal Number: 19809674
Notice of Service of Process Date Processed: 05/15/2019
Primary Contact: Diana Himes
KONE Ine.
1 Kone Ct

Moline, IL 61265-1374

Electronic copy provided to:

Rhonda Bailey
Britta Lue

 

Entity:

Entity Served:
Title of Action:

Document(s) Type:
Nature of Action:
Court/Agency:
Case/Reference No:
Jurisdiction Served:

Date Served on CSC:

Answer or Appearance Due:

Originally Served On:
How Served:

Sender Information:

KONE Inc.
Entity ID Number 2576508

Kone Corporation

Jayden Totah, by and through his Guardian Ad Litem; Anne-Marie Totah vs.
Kone Corporation

Summons/Complaint

Personal Injury

San Francisco County Superior Court, CA
CGC-19-573894

California

05/09/2019

30 Days

CSc

Personal Service

Joseph Hoffinan
415-289-0243

Information contained on this transmittal form is for record keeping, notification and forwarding the attached document(s). It does not
constitute a legal opinion. The recipient is responsible for interpreting the documents and taking appropriate action.

To avoid potential delay, please do not send your response to CSC

251 Little Falls Drive, Wilmington, Delaware 19808-1674 (888) 690-2882 | sop@cscglobal.com
Case 3:19-cv-03842-JSC Document1 Filed 07/02/19 Page 11 of 59

‘ PLD-PI-001
ATTORNEY OR PARTY WITHOUT ATTORNEY (Namo, Stata Bar number, and address): FOR COURT USE ONLY
T~ Joseph Hoffman (SB 114020)

Weinberg-Hoffman, LLC

679 Bridgeway

Sausalito, CA. 94965

TELEPHONE NO: 415-289-0243 FAX NO, (Optional):

E-MAIL ADDRESS (Optional: JHatWHCR@aol,com

ATTORNEY FOR (Name): Plaintiffs
SUPERIOR COURT OF CALIFORNIA, COUNTY OF San Francisco

STREET ADDRESS: NO SUMMONS ISSUED

MAILING appress: 400 McAllister Street

 

 

 

city ano zipcove: San Francisco, CA. ENDORSED
BRANCH NAME: FILED
PLAINTIFF: Jayden Totah, minor, by and through his Guardian Ad San Francisco County Superior Court
Litem; Anne-Marie Totah; Eric Totah
DEFENDANT: Kone Corporation; ThyssenKrupp Elevator America; FEB 20 2019

City & County of San Francisco

 

 

 

 

 

 

 

 

 

 

 

 

 

CLERK OF THE COURT

(—] pogs1to 15 av. KALENE RPOLONIO
COMPLAINT—Personal Injury, Property Damage, Wrongful Death Beputy Clark

[~_] AMENDED (Number): :
Type (check all that apply):
[] MOTOR VEHICLE [__] OTHER (specify):

Property Damage Wrongful Death

| ¥ | Personal Injury Other Damages (specify):

Jurisdiction (check all that apply): CASE NUMBER:

[__] ACTION JS A LIMITED CIVIL CASE

Amount demanded [__] does not exceed $10,000 C&G ~ 1 0 =o 5 7 4 8 9 dt

[__] exceeds $10,000, but does not exceed $25,000
v_| ACTION IS AN UNLIMITED CIVIL CASE (exceeds $25,000)
| ACTION IS RECLASSIFIED by this amended complaint

[_—] from limited to unlimited
[-~] from unlimited to limited

1. Plaintiff (name or names): Jayden Totah, minor by his Guardian Ad Litem; Anne-Marie Totah: Eric Totah
alleges causes of action against defendant (name or names):
Kone Corporation; ThyssenKrupp Elevator America; City & County of San Francisco ("CCSE")
2. This pleading, including attachments and exhibits, consists of the following number of pages:
3. Each plaintiff named above Is a competent adult
a, except plaintiff (name): Jayden Totah
(1) [7] a corporation qualified to do business in California
(2) [__] an unincorporated entity (describe);
(3) [__] a pubile entity (describe):
(4) aminor ([_] an adult

(a) for whom a guardian or conservator of the estate or a guardian ad litem has been appointed
(b) [] other (specify):

(5) [_] other (specify):

b. [_] except plaintiff (name);

(1) [-{] a corporation qualified to do business in California

(2) ["_] an unincorporated entity (describe):

(3) [-_] a public entity (deseribe):

(4) [—] aminor [__] an adult

(a) [_~] for whom a guardian or conservator of the estate or a guardian ad fitem has been appointed
(b) [_] other (specify):
(5) [__] other (specify):

 

 

 

 

 

[1 Information about additional plaintiffs who are not competent adults Is shown in Attachment 3. Pago 1 of 3

Form Approved for Optional Use — Code of Civil Procedure, § 425,12
sudiclal Council of California COMP LAINT—Personal Inj ury, Pro pe rly www.courtinfo.ca.gov

PLD-Pl-001 [Rev, January 1, 2007] Damage, Wrongful Death
Case 3:19-cv-03842-JSC Document1 Filed 07/02/19 Page 12 of 59

t

PLD-P1-001

 

SHORT TITLE:
Totah v. Kone

 

CASE NUMBER:

 

 

 

4, [-_] Plaintiff (name):
is doing business under the fictitlous name (specify):

and has complied with the fictitious business name laws.

5, Each defendant named above is a natural person
a. except defendant (name): Kone Corporation
(1) [-_] a business organization, form unknown
(2) a corporation
(3) [_] an unincorporated entity (describe):

(4) [-] a public entity (describe);

(5) [_] other (specify):

b. except defendant (name): ThyssenKrupp
(1) [_] a business organization, form unknown
(2) a corporation

(3) [__] an unincorporated entity (describe):
(4) [_] a public entity (describe):

(5) [__] other (specify);

C. except defendant (name): CCSF
(1) [7] a business organization, form unknown
(2) [-_] a corporation

(3) [__] an unincorporated entity (describe):
(4) a public entity (describe):

(5) [__] other (specify):

d. [-_] except defendant (name):
(t) [_) a business organization, form unknown

(2) (__] a corporation
(3) ["_] an unincorporated entity (describe):

(4) [7] a public entity (describe);

(5) [_] other (specify):

[-_] Information about additional defendants who are not natural persons Is contained In Attachment 6.

6. The true names of defendants sued as Does are unknown to plaintiff.

a. Doe defendants (specify Doe numbers): ___ 1-10

__. were the agents or employees of other

named defendants and acted within the scope of that agency or employment.

b, Doe defendants (specify Doe numbers):
plaintiff.

{1-15

are persons whose capacities are unknown to

7. {_] Defendants who are joined under Code of Civil Procedure section 382 are (names):

8. This court Is the proper court because

a, [___] at least one defendant now resides in Its jurisdictional area.

aoe

other (specify):
CCSF is a public entity.

9, Plaintiff Is required to comply with a claims statute, and

a. has complied with applicable claims statutes, or
b. [_] {s excused from complying because (specify):

. [_] the principal place of business of a defendant corporation or unincorporated association Is in Its jurisdictional area.
. injury to person or damage to personal property occurred In its jurisdictional area,

 

PLD-PI-001 (Rev, January 1, 2007}

COMPLAINT—Personal Injury, Property

Page 2 of 3

Damage, Wrongful Death
Case 3:19-cv-03842-JSC Document1 Filed 07/02/19 Page 13 of 59

- PLD-PI-001

 

 

SHORT TITLE: CASE NUMBER:
Totah v. Kone

 

 

 

10, The following causes of action are attached and the statements above apply to each (each complaint must have one or more
causes of action attached):

. [°-] Motor Vehicle

. General Negligence

. [_] Intentional Tort

Products Liability

Premises Liability

[__] Other (specify):

mOoaaomwn

11. Plaintiff has suffered

a. [__] wage loss

b. [__] loss of use of property

c. [7] hospital and medical expenses
d. general damage

e. [__] property damage

f. ([_] loss of eaming capacity

g. [_] other damage (specify):

12. [-_] The damages claimed for wrongful death and the relationships of plaintiff to the deceased are
a. (__] listed in Attachment 12.
b, [-_] as follows:

13. The relief sought in this complaint is within the jurisdiction of this court.

14, Plaintiff prays for judgment for costs of suit; for such rellef as is falr, just, and equitable; and for
a. (1) [47] compensatory damages
(2) (_] punitive damages
The amount of damages Is (in cases for personal injury or wrongful death, you must check (1):

(1) L¥_] according te proof
(2) in the amount of: $

 

 

 

 

 

 

15, [__] The paragraphs of this complaint alleged on information and belief are as follows (specify paragraph numbers):

Date: 2/15/18 C |
Joseph Hoffman > “7
(TYPE OR PRINT NAME) (SIGNATURE OF RLAINTIFF OR ATTORNEY)

PLD-PI-004 (Rev, January 1, 2007} COMPLAINT—Personal Injury, Property ‘” Pago 3 of 3
Damage, Wrongful Death

 
Case 3:19-cv-03842-JSC Document1 Filed 07/02/19 Page 14 of 59

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o! PLD-PI-001(5)
SHORT TITLE: CASE NUMBER:
Totah v. Kone .
FIRST CAUSE OF ACTION—Products Liability Page t
(number)

ATTACHMENT TO Complaint [-_] Cross - Complaint
(Use a separate cause of actlon form for each cause of action.)

Plaintiff (name): All Plaintiffs

Prod. L-1. On or about (date); 4/8/2018 plaintiff was injured by the following product:
Jayden Totah, by and through his G.A.L, suffered a traumatic amputation of his small finger.
Anne-Marie Totah suffered emotional distress by vittue of a contemporaneous sensory observation and
awareness of her child's injury. Father, Eric totah, responsible for child's medical and hospital bills,
Prod, L.-2. Each of the defendants knew the product would be purchased and used without Inspection for defects.

The product was defective when it left the control of each defendant, The product at the time of injury

was being
{__] used in the manner intended by the defendants.

used in the manner that was reasonably foreseeable by defendants as involving a substantial danger not
readily apparent. Adequate warnings of the danger were not given.
Prod, L-3. Plaintiff was a

[_] purchaser of the product. uset of the product.
L_] bystander to the use of the product. other (specify):

father, responsible for medical bills
PLAINTIFF'S INJURY WAS THE LEGAL (PROXIMATE) RESULT OF THE FOLLOWING:

Prod, L-4, Count One—Strict liability of the following defendants who
a, manufactured or assembled the product (names):

Kone Corporation

[] Does to

b, designed and manufactured component parts supplied to the manufacturer (names):
Kone Corporation

Does 1 to 2
Cc. sold the product to the public (names):
Kone & CCSF placed the escalator at SFO for public use

Does 6 to 8
Prod, L-5. Count Two—Negligence of the following defendants who owed a duty to plaintiff (names):
ThyssenKrupp Elevator America; CCSF

 

 

 

Does 9 to 10
Prod. L-6. [-_] Count Three—Breach of warranty by the following defendants (names):
[1 Does to

 

a. [_] who breached an implied warranty

b, [__] who breached an exes warranty which was
~ £4) written oral
Prod, L-7. The defendants who are liable to plaintiffs for other reasons and the reasons for the llability are
[[_] listed in Attachment-Prod. L-7 as follows:
DOE defendants 11-15

 

Page 1 of 1
Form Approved for Optional Use GAUSE OF ACTION-—Products Liability Code of Civil Procedure, § 425.12
Judicial Council of California www.courtinfo.ca.gov

PLD-Pl-001(5) (Rev. January 1, 2007]
Case 3:19-cv-03842-JSC Document1 Filed 07/02/19 Page 15 of 59

PLD-PI-001(2)

 

SHORT TITLE: CASE NUMBER;
Totah v. Kone

 

 

 

 

oo
SECOND CAUSE OF ACTION—General Negligence Page 2

(number)
ATTACHMENT TO Complaint [-_] Cross - Complaint

(Use a separate cause of action form for each cause of actlon.)
GN-1, Plaintiff (name): Anne-Marie Totah

alleges that defendant (name); All Defendants

[-] Does to

was the legal (proximate) cause of damages to plaintiff. By the following acts or omissions to act, defendant
negligently caused the damage to plaintiff

on (date): 4/8/2018
at (place): SFO, Escalator 1314

 

(description of reasons for liability):
Anne-Marie Totah is the mother of minor child, Jayden Totah,

She was on the subject escalator with her child at the time he suffered a traumatic amputation of
his small finger, caused by the escalator.

She had a contemporaneous sensory awareness, and observation, of the injury producing event,
and was then aware that the escalator had caused injry to her child.

Thus, she is entitled to recover damages for her emotional distress pursuant to Thing v. La Chusa,
(1989) 48 Cal, 3d 644, and progeny.

 

Page 1 of 1
Form Approved for Optional Use ox ' Code of Civil Procadure 426.12
Judiced Coundl of catomnla CAUSE OF ACTION--General Negligence www, courtinto.ca,gov

PLD-P1-004(2) (Rev, January 4, 2007]
 

Case 3:19-cv-03842-JSC Document1 Filed 07/02/19 Page 16 of 59

PLD-P1-001(4

 

SHORT TITLE: CASE NUMBER:
Totah v. Kone

 

 

 

THIRD CAUSE OF ACTION—Premises Liability Page oa

(number)

ATTACHMENT TO Complaint [_] Cross - Complaint
(Use a separate cause of action form for each cause of action.)

Prem.L-1. Plaintiff (name): All Plaintiffs
alleges the acts of defendants were the legal (proximate) cause of damages to plaintiff.
On (date): 4/8/118 plaintiff was injured on the following premises in the following

fashion (description of premises and circumstances of injury):
Minor child and his mother were riding escalator ES 1314, in an intended and/or reasonably
forseeable manner, when child suffered a traumatic amputation of small finger.

Father is G.A.L. and responsible for child's medical and hospital bills.

Prem.L-2, Count One—Negligence The defendants who negligently owned, maintained, managed and
operated the described premises were (names):

All Defendants

["] Does to

Prem.L-3. [1] Count Two—Willful Failure to Warn {Civil Code section 846] The defendant owners who willfully
or maliciously failed to guard or warn against a dangerous condition, use, structure, or activity were
(names):

 

[1 Does to

Plaintiff, a recreational user, was [_] an Invited guest [__] a paying guest.

Prem.L-4. Count Three—Dangerous Condition of Public Property The defendants who owned public property
on which a dangerous condition existed were (names):
CCSF

 

[ ]Does to

a, [_] The defendant public entity had (__] actual constructive notice of the existence of the
dangerous condition in sufficient time prior to the injury to have corrected it.
b. [1] The condition was created by employees of the defendant public entity,
PremL-5, a. Allegations about Other Defendants The defendants who were the agents and employees of the
other defendants and acted within the scope of the agency were (names):

C¥] Does 1 to 10

b, The defendants who are lable to plaintiffs for other reasons and the reasons for their liability are
[___] described In attachment Prem.L-5.b as follows (names):
Does 11-15.

Page 1 of 1

Forth Apptoved for Optional Use CAUSE OF ACTION—Premises Liability Code of Civil Procedure, § 425.12
Judicial Counoll of California www.courtinfo.ca.gov

PLD-P1-001(4) [Rev. January 1, 2007]
“ 3 Case 3:19-cv-03842-JSC Document 1 Filed 07/02/19 Page 17 of 59

ot

 

 

 

 

 

 

 

 

 

 

 

i *. . CM-010
x RNEY OR PARTY WITHOUT ATTORNEY (Name, Stale Bar number, and addrass): FOR COURT USE ONLY
Wenbers-Hofimen LLP NO SUMMONS ISSUIED
§79 Bridgeway ENDORSED
Sausalito, CA, 94965 FILED
TELEPHONE NO: 415-289-0243 FAX NO! San Francisco County Superior Court
ATTORNEY FOR (Nemo):
SUPERIOR COURT OF CALIFORNIA, GOUNTY OF San Francisco :
STREET ADDRESS: FEB 20 2019
maine Anoress: 400 McAllister CLERK OF THE COURT
cry AND zip cove: San Francisco, CA, KALENE APOLONIO
BRANCH NAME: BY. Benuly Clark
CASE NAME: ; eeu
Jayden Totah, et. al, v. Kone Corporation, et. al. .
CIVIL CASE COVER SHEET Complex Case Designation “Ce 4 9 oon 5 7 4 i y id
Unlimited  [__] Limited u -
(Amount (Amount [| counter [__} Joinder ynor
demanded demanded is Filed with first appearance by defendant ‘
exceeds $25,000) $25,000 or less) (Cal. Rules of Court, rule 3.402) DEPT:
Items 1-6 below must be completed (see instructions on page 2).
1, Check one box betow for the case type that best describes this case:
Auto Tort Contract Provisionally Complex Civil Litigation
Auto (22) [_] Breach of contractwarranty (06) (Cal. Rules of Court, rules 3.400-3.403)
Uninsured motorist (46) L_] Rule 3.740 collections (08) C_] Antitrust/Trade regulation (03)
Other PI/PD/WD (Personal Injury/Property [__ Other collections (09) L_] Construction defect (10)
Damage/Wrongful Death) Tort Insurance coverage (18) [—} Mass tort (40)
Asbestos (04) Other contract (37) [| Securities litigation (28)
Produat lability (24) Real Property (_] Environmental/Toxic tort (30)
Medical malpractice (45) Eminent domain/Inverse f Insurance coverage claims arising from the
Other P/PD/WD (23) condemnation (14) above Iisted provisionally complex case
Non-PI/PD/WD (Other) Tort (J wrongful eviction (33) types (44)
L_] Business tor¥unfair business practice (07) [J] other real property (26) Enforcement of Judgment
[] Civil rights (08) Uniawful Detainer . [1] Enforcement of judgment (20)
(__| Defamation (13) Commercial (31) Miscellaneous Civil Complaint
| Fraud (16) L_] Residential (32) L | RICO (27)
{__] Intellectual property (19) [_] rugs (38) Other complaint (not specified above) (42)
(__| Professional negligence (25) Judicial Review Miscellaneous Civil Petition
[J] other non-PUPD/WD tort (36) [_] Asset forfeiture (05) Partnership and corporate governance (21)
Employment Petition re: arbitration award (11) ["") other petition (not specified above) (48)
C_] Wrongful termination (36) (J Writ of mandate (02)
[_~] other employment (18) (] Other judicial review (39)

 

 

 

2. Thiscase |_] is is not — complex under rule 3.400 of the California Rules of Court, If the case is complex, mark the
factors requiting exceptional judicial management:

a.L_] Large number of separately represented parties d, CJ Large number of witnesses
b, t Extensive motion practice raising difficult or novel —e. (__] Coordination with related actions pending in one or more courts

 

 

 

issues that will be time-consuming to resolve in other counties, states, or countries, or in a federal court
c, L__] Substantial amount of documentary evidence f. [__] Substantial postjudgment judicial supervision
3, Remedies sought (check all that apply): a] monetary bo _] nonmonetary; declaratory or Injunctive relief c, [| punitive
4, Number of causes of action (specify): Products Liability, Negligence, Premises Liability
5. Thiscase [_lis [e‘]isnot aclass action suit.
6. (f there are any known related cases, file and serve a notice of related case, (You may use Yoder CV- 15.)
Date: Feb. 15, 2018 s
Joseph Hoffman > if
: (TYPE OR PRINT NAME) (SIGNATURE Of PARTY OR ATTORNEY FOR PARTY)
NOTICE

« Plaintiff must file this cover sheet with the first paper filed in the action or proceeding (exdept small claims cases or cases filed
under the Probate Code, Family Code, or Welfare and Instltutlons Code), (Cal. Rules of Court, rule 3.220.) Failure to file may result
in sanctions,

® File this cover sheet in addition to any cover sheet required by local court rule.

® [f this case is complex under rule 3,400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all
other partles to the action or proceeding.

® Unless this is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes only.

 

 

0 1 of 2
Form Adopted for Mandatory Use Gal, Rules of Court, rules 2.30, 3,220, 3.400-3,403, 3.740;
“udiolal Counal of Calfernia CIVIL CASE COVER SHEET

Cal, Standards of Judicial Administration, std, 3.40
CM-010 [Rev, July 1, 2007] www. courtinio.ca, gov
; ' Case 3:19-cv-03842-JSC Document1 Filed 07/02/19 Page 18 of 59
he CM-010
INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET
Ta Plaintiffs and Others Filing First Papers. {f you are filing a first paper (for example, a complaint) in a civil case, you must
complete and file, along with your first paper, the Civil Case Cover Sheet contained on page 1. This information will be used to compile
statistics about the types and numbers of cases filed. You must complete items {4 through 6 on the sheet. In item 1, you must chack
one box for the case type that best describes the case. If the case fits both a general and a more specific type of case listed In item 1,
check the more specific one. If the case has multiple causes of action, check the box that best indicates the primary cause of action,
To assist you in completing the sheet, examples of the cases that belong under each case type In Item 1 are provided below. A cover
sheet must be filed only with your Initial paper. Failure to file a cover sheet with the first paper filed in a civil case may subject a party,
its counsel, or both to sanctions under rules 2.30 and 3,220 of the California Rules of Court.
To Parties in Rule 3.740 Collectlons Cases, A "collections case" under rule 3,740 is defined as an actlon for recovery of money
owed In a sum stated to be certain that Is not more than $25,000, exclusive of interest and attorney's fees, arlsing from a transaction in
which property, services, or money was acquired on credit. A collections case does not include an action seeking the following: (1) tort
damages, (2) punitive damages, (3) recovery of real property, (4) recovery of personal property, or (5) a prejudgment writ of
attachment. The identification of a case as a rule 3.740 collections case on this form means that it will be exempt from the general
time-for-service requirements and case management rules, unless a defendant files a responsive pleading. A rule 3.740 collections
case will be subject to the requirements for service and obtaining a judgment in rule 3.740.
To Parties in Complex Cases. In complex cases only, partles must also use the Civil Case Cover Sheet to designate whether the
case {s complex, If a plaintiff belleves the case Is complex under rule 3.400 of the California Rules of Court, this must be indicated by
completing the appropriate boxes in items 1 and 2. If a plaintiff designates a case as complex, the cover sheet must be served with the
complaint on all parties to the action, A defendant may file and serve no later than the time of its first appearance a joinder in the
plaintiffs designation, a counter-designation that the case is not complex, or, if the plaintiff has made no designation, a designation that

the case Is complex,

Auto Tort

Auto (22)-Personal Injury/Property
Damage/Wrongful Death

Uninsured Motorist (46) (if the
case involves an uninsured
motorist claim subject to
arbitration, chack this item
Instead of Auto)

Other PI/PD/WD (Personal Injury/
Property Damage/Wrongful Death)
Tort :

Asbestos (04)

Asbestos Property Damage
Asbestos Personal Injury/
Wrongful Death

Product Liability (not asbestos or
toxic/environmental) (24)

Medical Malpractice (45)

Medical Malpractice—
Physicians & Surgeons

Other Professional Health Care
Malpractice

Other PI/FD/WD (23)

Premises Llabllity (e.g., slip
and fall)

Intentional Bodily Injury/PDAWD
(o.g., assault, vandalism)

Intentional Inflictlon of
Emotional Distress

Negligent infliction of
Emotional Distress

Other P/PD/AWD

Non-PVPD/WD (Other) Tort

Business Tort/Unfalr Business
Practice (07)

Civil Rights (e.g., discrimination,
false arrest) (not civil
harassment) (08)

Defamation (9.g., slander, libel)

13

(13)
Fraud (16)
Intellectual Property (19)
Professional Negligence (25)
Legal Malpractice
Other Professional Malpractice
(not medical or legal)
Other Non-PV/PD/WD Tart (36)
Employment
Wrongful Termination (36)
Other Employment (15)

OM-010 (Rev. July 1, 2007}

CASE TYPES AND EXAMPLES
Contract
Breach of Contract/Warranty (06)
Breach of Rental/Lease
Contract (not unlawful detainer
or wrongful eviction)
Contract/Warranty Breach—Seller
Plaintiff (nat fraud or negligence)
Negligent Breach of Contract/
Warranty
Other Breach of Contract/Warranty
Collections (e.g., money owed, open
book accounts) (09)
Collection Case-Seller Plaintiff
Other Promissory Noate/Collections

Case
Insurance Coverage (not provisionally
complex) (18)
Auto Subrogation
Other Coverage

Other Contract (37)
Contractual Fraud
Other Contract Dispute

Real Property

Eminent Domain/Inverse
Condemnatlon (14)

Wrongful Eviction (83)

Other Real Property (e.g., quiet title) (26)
Writ of Possession of Real Property
Mortgage Foreclosure
Qulet Title
Other Real Property (not eminent
domain, landlord/tenant, or
foreclosure)

Unlawful Detalner

Commercial (31)

Residential (32).

Drugs (38) (if the case involves illegal
drugs, check this item; otherwise,
report as Commercial or Residential)

Judicial Review

Asset Forfeiture (05)

Petition Re: Arbitration Award (11)

Writ of Mandate (02)
Writ-Administrative Mandamus
Writ-Mandamus on Limited Court

Case Matter
Writ-Other Limited Court Case
Review

Other Judicial Review (39)

Review of Health Officer Order,
Notice of Appeal-Labor
Commissioner Appeals

CIVIL CASE COVER SHEET

Provisionally Complex Civil Litigation (Cal,
Rules of Court Rules 3.400~3,403)

Antitrust/Trade Regulation (03)
Construction Defect (10)
Clalms Involving Mass Tort (40)
Securities Litigation (28)
Environmental/Toxic Tort (30)
Insurance Coverage Clalms
(arising from provisionally complex
case type listed above) (41)
Enforcement of Judgment
Enforcement of Judgment (20)
Abstract of Judgment (Out of
County)
Confession of Judgment (nan-
domestic relations)
Sister State Judgment
Administrative Agency Award
(not unpaid taxes)
Petition/Certification of Entry of
Judgment on Unpald Taxes
Other Enforcement of Judgment

Miscellaneous Civil Complaint
RICO (27)
Other Complaint (not specified
above) (42)
Declaratory Rallef Only
Injunctive Rellef Only (non-
harassment)
Mechanics Lien
Other Commercial Complaint
Case (non-tort/non-complex)
Other Civil Complaint
(non-tort/non-complex)
Miscellaneous Civil Petition
Partnership and Corporate
Governance (21)
Other Petition (not specified
above) (43)
Civil Harassment
Workplace Violence
Elder/Dependent Adult
Abuse
Election Contest
Petition for Name Change
Petition for Rellef From Late
Claim
Other Civil Petition

Pago 2 of 2
Case 3:19-cv-03842-JSC Document1 Filed 07/02/19 Page 19 of 59

 

SUM-=100
(CITACION JUDICI At) (20, GOURTUSE ONLY
NOTICE TO DEFENDANT:
(AVISO AL DEMANDADO):

Kone Corporation; ThyssenKrupp Elevator America; City and county of
San Francisco; Does 1-15

YOU ARE BEING SUED BY PLAINTIFF:
(LO ESTA DEMANDANDO EL DEMANDANTE):

Jayden Totah, minor, by and through his Guardian Ad Litem;
Anne-Marie Totah; Eric Totah

 

 

NOTICE! You have been sued, The court may decide against you without your being heard unless you respond within 30 days, Read the information
below.

You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
served on the plaintiff. A letter or phone call will not protect you. Your written responsa must be in proper legal form if you want the court to hear your
case, There may be a court form that you can use for your response. You can find these court forms and more Information at the California Courts
Online Self-Help Center (www.courtinfo.ca.gov/selfhelp), your county law library, or the courthouse nearest you, If you cannot pay the filing fee, ask
the court clerk for a fee waiver form. If you do not file your response on time, you may lose the case by default, and your wages, money, and property
may be taken without further warning from the court.

There are other legal requirements. You may want to call an attorney right away, If you do not know an attorney, you may want to call an attorney
referral service. If you cannot afford an attorney, you may be ellgible for free legal services from a nonprofit legal services program. You can locate
these nonprofit groups at the California Legal Services Web site (www./awhelpealifornia.org), the Callfornia Courts Online Self-Help Center
(www.courtinfo.ca.gov/selfhelp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
costs on any settlement or arbitration award of $10,000 or more In a civil case, The court's lon must be paid before the court will dismiss the case.
[AVISOI Lo han demandado. Si no responde dentro de 30 dias, la corte puede decidir en su contra sin escuchar su version, Lea la informacion a
continuacion.

Tiene 30 DIAS DE CALENDARIO después de que /e entreguen esta citacién y papeles legates para presentar una respuesta por escrito en esta
corte y hacer que se entregue una copia al demandante. Una carta o una llamada telefénica no lo protegen, Su respuesta por escrito tiene que estar
on formato legal correoto si desea que procesen su caso en la corte, Es posible que haya un formulario que usted pueda usar para su respuesta,
Puede encontrar estos formularios de la corte y mas informacién en el Centro de Ayuda de las Cortes de California (www.sucorte,ca.gov), en la
biblioteca de leyes de su condado o en fa corte que le quede mas cerca. S/ no puede pagar la cuota de presentacién, pida al secretario de fa corte
que le dé un formulario de exencién de pago de quotas, Si no presenta su respuesta a tiempo, puede perder ef caso por incumplimiento y la corte le
podra quitar su suefdo, dinero y blenes sin mas advertencia.

Hay otros requisitos legales, Es racomendable que llame a un abogado inmediatamente. Si no conoce a un abogado, puede ilamar a un servicio de
remisién a abogados. S/ no puede pagar a un abogado, es posible que cumpia con los requisitos para obtener servicios legales gratultos de un
programa de servicios legales sin fines de fucro, Puede encontrar estos grupos sin fines de lucro en el sitle web de California Legal Services,

(www. lawhelpcalifornla.org), en ef Centro de Ayuda de las Cortes de Caillfornia, (www.sucorte.ca.gov) o poniéndose en contacto con la corte o el
colegio de abogados locales, AVISO: Por ley, la corte tene derecho a reciamar las cuotas y los costos exentos por imponer un gravamen sobre
cualquier recuperacién de $10,000 6 mas de valor recibida mediante un acuerdo o una concesién de arbitraje en un caso de derecho civil, Tlene que
pagar el gravamen de la corte antes de que la corte pueda desechar el caso.

 

 

 

The name and address of the court fs: CASE NUMBER; ~
(El nombre y direccién de la corte es): San Francisco County Courts (Numero a) -~” 1 9 5 ? 4 8 9 At
400 McAllister , ~_

 

 

San Francisco, CA.

The name, address, and telephone number of plaintiff's attorney, or plaintiff without an attorney, Is:
(El nombre, fa direccién y el numero de teléfono del abogado del demandante, o de! demandante que no tiene abogado, es):

Joseph Hoffman, Weinberg-Hoffman, LLP, 679 Bridgeway, Sausalito, CA, 94965 415-289-0243
DATE: MAR 12 2018 aypenk OF TREO KALENE APOLONIG —_, Deputy

(Fecha) Secretario) (Adjunto)

(For proof of service of this summons, use Proof of Service of Summons (form POS-070).)
(Para prueba de entrega de esta citatién use el formulario Proof of Service of Summons, (POS-070)).

NOTICE TO THE PERSON SERVED: You are served
(SEAL) 4. [=] as an Individual defendant.
2. [_] as the person sued under the fictitious name of (specify):

 

 

3, [1 on behalf of (specify):

under; L_] CCP 416.10 (corporation) [__] GCP 416.60 (minor)
[-_] CCP 416,20 (defunct corporation) CCP 416.70 (conservatee)
[__] CCP 416,40 (association or partnership) [__] CCP 416.90 (authorized person)

[-] other (specify):
4. [__] by personal delivery on (date):

 

 

 

 

 

 

 

 

Page 1 of 1
Form Adopted for Mandatory Use SUMMONS Code of Civil Procedure §§ 412.20, 466
Judiclal Council of California www. courtinfo.ca.gov

SUM-100 [Rev, July 1, 2009)
“CASE  NGMBERLECCO ATA ‘PORN IS ETNY GRBERTON ETAL

NOTICE TO PLAINTIFF

A Case Management Conference is set for:

_ DATE: JUL-24-2019
TIME: 10:30AM
PLACE: Department 610

400 McAllister Street
San Francisco, CA 94102-3680

All parties must appear and comply w with Local Rule 3.

CRC 3. 725 requires the filing and service 5 of a case management statement form CM- 410°
| no-later than 15 days before the case managerment conference. However, it would facilitate
f the issuance of a case management order without an appearance at the case

: management conference if the case management statement is filed, served and lodged in
| Department 610 twenty-five (25) days before the case management conference.

 

Plaintiff must serve a copy of this notice upon each party to this action with the summons and
complaint. Proof of service Subsequently filed with this court shall so state. This case is

eligible for electronic filing and service per Local Rule 2.11. For more information,
please visit the Court's website at www. sfsuperiorcourt.org under Online Services.

[DEFENDANTS: Attending the Case Management Conference does not take the place ~
of filing a written response to the complaint. You must file a written response with the

court within the time limit required by law. See Summons.].

ALTERNATIVE DISPUTE RESOLUTION REQUIREMENTS

4 (TIS THE POLICY OF THE SUPERIOR COURT THAT EVERY CIVIL CASE SHOULD PARTICIPATE IN

| MEDIATION, ARBITRATION, NEUTRAL EVALUATION, AN EARLY SETTLEMENT CONFERENCE, OR
§ OTHER APPROPRIATE FORM OF ALTERNATIVE DISPUTE RESOLUTION PRIOR TO A TRIAL.

 

| (SEE LOCAL RULE 4)

Plaintiff must serve a copy of the Alternative Dispute Resolution (ADR) Information Package.
on-each defendant along with the complaint. (CRC 3.221.) The ADR package may be
accessed at www.sfsuperiorcourt.org/divisions/civil/dispute-resolution or you may requést a.
paper Copy from the filing clerk. All counsel must discuss ADR with clients and opposing
counsel and provide clients with a copy of the ADR Information Package prior to filing

the Case Maniagement Statement.

 

Superior Court Alternative Dispute Resolution Administrator
400. McAllister Street, Room 103-A

San Francisco, CA 94102

(415) 551-3869

See Local Rules 3.3, 6.0 C and 10 B re stipulation to judge pro tem,
 

 

TT Case 3:19-Cv-03842-JSC” Document I Filed 07/02/19 Page 21 of 59

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we KY

‘ FILED
a 3 oy) V1, 7 In the office of the Secretary of State

AMENDED STATEMENT BY af the State at Calor
FOREIGN CORPORATION | JUN —7 2000

BILL JONES, es) ot Shae

0?

   

KONE Inc., doing business in California’ as

 

 

 

 

Delaware KONE Inc. KONE Ince De too, -
(Name of Garparation)
KONE Inc., doing business in California
as Delaware KONE Inc. FONE “nc. _, a corporation organized
and existing under the laws of Delaware , and which is presently

(State or Place of incorporation)

qualified for the transaction of intrastate business in the State of California, makes the

following statement:

That the name of the corporation has been changed to that hereinabove set forth and

that the name relinquished at the time of such change was _Montgomery KONE Inc.

 

KONE Inc., doing business in
Calafoynia.as Delaware KONE Inc.

(Narne of Corporation)

Wah Bvechhe.

(Signature of Corporate Officer)

 

' Michael -iBauschka VP Fiancial Accounting
(Typed Name and Title of Officer Signing)
 

 

 

oT - ‘Case 3:19-cv-03842- JSC Document 1 Filed 07/02/19 Page 22 of 59

   

mo . State of Delaware

| oe Offic of the Secretary of State

PAGE 1

 

I, EDWARD J. FREEL, SECRETARY OF STATE OF THE STATE OF
DELAWARE, DO HEREBY CERTIFY THAT THE SAID "MONTGOMERY KONE

i erent be hemp tenay

INC.", FILED A CERTIFICATE-OF AMENDMENT;~CHANGING ITS NAME TO

   
    
  
  
 

 

aT (5Ry A
"KONE INC.", OE. AWELRTECBAY Cor OCTOBERA| BD “RRS. AT 9 O'CLOCK
as
yer HSE (
' A.M. i i LEA oe ae = aS Ps ‘
‘oS Sy SSG A
AND 1/60 & fepeay™ /PURTHER CERTIFY THAT THE SARGRESATDY
rat fe Sy
CORPORATION. SIA /PORY INCORPORATE UNDER THE-LAWS OF i, STATE OF
egy 4 S a8

DELAWARE ‘AND JES IN. NAR i

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iy Wee

 
   

Edward J. Freel, Secretary of State

 

0507417 8320 AUTHENTICATION: 0178335

001003883 DATE: 01-04-00

 
Case 3:19-cv-03842-JSC Document1 Filed 07/02/19 Page 23 of 59

  

  
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28

land DOES 1 to 15, inclusive.

 

 

Case 3:19-cv-03842-JSC._ Document1 Filed 07/02/19 Page 24 of 59

ELECTRONICALLY.

Mark Oium, Esq. (CSB 79327) ~
OIUM REYEN & PRYOR FILED |
220 Montgomery Street. Suite 910 “County oF San Francisco
San Francisco, CA 94104 ,

Tel: 415-392-8300 06/03/2019
Fax: 415-421-1254 : Clerk of the Court
Email: mark@orplaw.com ey: een epaty cle

Attorney for Defendant KONE INC,

SUPERIOR COURT OF THE STATE OF CALIFORNIA
IN AND FOR THE CITY AND COUNTY OF SAN FRANCISCO

JAYDEN TOTAH, MINOR, BY AND Case No. CGC-19-573894

THROUGH HIS GUARDIAN AD LITEM | an on per ENDANT KONE INC
ANNE-MARIE TOTAH; ERIC TOTAH, — | iro py AINTIFFS’ COMPLAINT

Plaintiffs,
Vv.
KONE CORPORATION;

THYSSENICRUPP ELEVATOR AMERICA;
CITY & COUNTY OF SAN FRANCISCO;

Defendants.

 

COMES NOW defendant KONE Ince, and answers to plaintiffs’ Complaint as follows:
| L |
Answering the Complaint against defendant and all of the allegations contained therein
and pursuant to the provisions of California Code of Civil Procedure Section 431.30, this
answering defendant denies all of the allegations contained in said Complaint, Further, this
answering defendant denies that plaintiffs are entitled to the relief prayed for, or any relief at
all, from said defendant,

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Page |
ANSWER OF KONE INC, TO PLAINTIFFS’ COMPLAINT

 
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Il
AS AND FOR A FIRST, SEPARATE AND DISTINCT AFFIRMATIVE DEFENSE
TO THE COMPLAINT, and to each and every allegation therein contained, this answering

|| defendant alleges that the Complaint fails to state facts sufficient to constitute a cause of action

against this answering defendant.
Vil.

AS AND FORA SECOND, SEPARATE AND DISTINCT AFFIRMATIVE
DEFENSE TO THE COMPLAINT, and to each and every allegation therein contained, this
answering defendant alleges that the acts, conduct and omissions of plaintiffs actually and
proximately caused any injuries alleged in the Complaint, which injuries are denied herein, and
this answering defendant has no liability to plaintiffs for any portion of fault attributable to
plaintiffs.

Iv. .

AS AND FOR A THIRD, SEPARATE AND DISTINCT AFFIRMATIVE DEFENSE
TO THE COMPLAINT, and to each and every allegation therein contained, this answering
defendant alleges that plaintiffs were comparatively negligent in bringing about their own
damage in the matter and style set forth in the decision of Supreme Court of the State of

California in the case of Liv. Yellow Cab Company, (1975) 13 Cal.3d 804 and this defendant

| prays that any and all damages sustained by plaintiffs, if any there be, be reduced by the

percentage of plaintiffs’ own negligence.
| ~Y,

AS AND FOR A FOURTH, SEPARATE AND DISTINCT AFFIRMATIVE
DEFENSE TO THE COMPLAINT; and to each and every allegation therein contained, this
answering defendant alleges that said injuries allegedly sustained by plaintiffs were either
wholly or in part negligently caused by persons, firms, corporations or entities other than this
answering defendant and that said negligence comparatively reduces the percentage of

negligence, if any, by this answering defendant.

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-Page 2
ANSWER OF KONE INC. TO PLAINTIFFS’ COMPLAINT

 
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VI.

“AS AND FOR A FIFTH, SEPARATE AND DISTINCT AFFIRMATIVE DEFENSE
TO THE COMPLAINT, and to each and every allegation therein contained, this answering
defendant alleges that said Complaint is barred by the Statute of Limitations set forth within the
Code of Civil Procedure of the State of California.

| VIL.

AS AND FOR A SIXTH, SEPARATE AND DISTINCT AFFIRMATIVE DEFENSE
TO THE COMPLAINT, and to each and every allegation therein contained, defendant avers
that it has not yet completed a thorough investigation and study and complete discovery of all
of the facts. and citcumstances of the subject matter of said Complaint, and accordingly,
reserves the right to amend, modify, revise or supplement its Answer, and to plead such further
defenses and take such further action as it may deem proper and necessary in its defense upon
the completion of said investigation and study.

VII.

AS AND FOR A SEVENTH, SEPARATE AND DISTINCT AFFIRMATIVE
DEFENSE TO THE COMPLAINT, and to each and every allegation therein contained, it is
alleged that plaintiffs, and/or persons, firms, corporations or entities other than this answering
defendant, misused and abused said product and/or failed to use said product for the purpose
for which it was intended, which misuse and abuse is imputed to plaintiffs, thereby barring any
recovery by plaintiffs herein. |

IX.

AS AND FOR AN EIGHTH, SEPARATE AND DISTINCT AFFIRMATIVE
DEFENSE TO THE COMPLAINT, and to each and every allegation therein contained, it is
alleged that plaintiff's employer was negligent and careless and that this carelessness and
negligence on the part of the plaintiffs employer proximately caused or contributed to the
damages, if any, sustained by the plaintiff, and that by reason thereof, this answering defendant
is entitled to a reduction in any verdict which may be rendered against this defendant in the

amount of any benefits paid or payable to the plaintiff on behalf of plaintiffs employer,

 

Page 3
ANSWER OF KONE INC, TO PLAINTIFFS’ COMPLAINT

 
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pursuant to the decision, Ass. Construction & Engineering Co. of Cal. v. WCAB, 22 Cal. 3d

| 829, 150 Cal. Rptr. 888 (1978).

x,
AS AND FOR A NINTH, SEPARATE AND DISTINCT AFFIRMATIVE DEFENSE
TO THE COMPLAINT, and to each and every allegation therein contained, defendant alleges

that should plaintiffs recover any damages in this action that said damages be computed

|| pursuant to California Civil Code Section 1431.2.

WHEREFORE, defendant prays that:

L. Judgment be awarded in favor of defendant;

2. Plaintiffs take nothing by way of their action;

3, Defendant be awarded its costs of suit; and

4. For such other and further relief.as the Court deems meet and proper in the
premises,

Respectfully submitted,
OIUM REYEN & PRYOR

M

Mark Oium: Esq.
Attorney for Defendant KONE Ine,

 

Dated: June 3, 2019

 

Page4
ANSWER OF KONE INC, TO PLAINTIFFS’ COMPLAINT

 
 

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PROOF OF SERVICE
Totah vs, KONE Inc,
San Francisco County Superior Court Action No. CGC-19-573894

Lam a citizen of the United States. My business address is 220 Montgomery Street, Suite 910,
San Francisco, California 94104, Iam employed in the County of San Francisco where this service
occurs. Iam over the age of 18 years and not a party to the within cause, ] am readily familiar with my
employer's normal business practice for collection and processing of correspondence for mailing with the
U.S. Postal Service and that practice is that correspondence is deposited. with the U.S. Postal Service the
same day as the day of collection in the ordinary course of business.

ey
On June 4. , 2019, following ordinary business practice, I served the foregoing document(s)

described as:
Answer of Defendant KONE Inc. to Plaintiffs’ Complaint

on the interested parties in said action addressed as follows:

 

Joseph Hoffman, Esq.
Weinberg-Hoffman, LLC
679 Bridgeway
Sausalito, CA 94965
Attorney for Plaintiffs.

 

 

 

(BY FACSIMILE) by transinitting via facsimile the document(s) listed above to the
facsimile number(s} set forth above, or as stated on the attached service list, on this date
before 5:00 p.m.

x (BY MAIL) by placing a true and correct copy of the document(s) listed above enclosed
in a sealed envelope(s) with postage thereon fully prepaid in the United States Mail at
San Francisco, California,

(BY PERSONAL SERVICE) by placing a true and correct copy of the document(s) listed
above enclosed in a sealed envelope(s) and causing said envelope(s) to be delivered by
hand this date to the offices of the addressee(s).

Electronically on the recipients designated on the Transaction Receipt located
on the LexisNexis File & Serve website, pursuant to San Francisco Superior
Court General Order No. 158,

I declare that Lam employed in the office of a member of the bar of this Court at whose direction
the service was made. I declare under penalty of pony under the laws of the State of California that the
foregoing is true and correct. Executed on June , 2019, at San Francisco, California.

Sie San F ong

 

 

Proof of Service ~ f
Case 3:19-cv-03842-JSC Document 1 Filed 07/02/19 Page 29 of 59

 

EXHIBIT C_
 

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. LJ ORIGINAL

 

 

 

 

 

 

 

 

 

 

CIV-010 (Rev. January 1, 2008]

CIV-010
ATTORNEY (Name, Slate Bar number, and address): FOR COURT USE ONLY
| Joseph Hoffman (SB 114020)
Weinberg-Hoffman, LLP
679 Bridgeway
Sausalito, CA. 94965
TecepHonENO.: 415-289-0243 — FAXNO. (Optional: EF i L
E-MAIL ADDRESS (Optional): S m
ATTORNEY FOR (Name); Plaintiffs an Francisco County Superior Court
SUPERIOR COURT OF CALIFORNIA, COUNTY OF San Francisco “Ray
STREET ADDRESS: MAR 0 4 20 19 SS
maine aporess:; 400 McAllister CLERK OF T
ranise < OF THE COURT aw
ciryanozip cope: San Francisco, CA. 94102 ay: ly &
RANCH NAME: SE 7D 7 } =
PLAINTIFF/PETITIONER: Eric Totah Deputy Clerk @
. . By
DEFENDANT/RESPONDENT: City and County of San Francisco, et. al. a
APPLICATION AND ORDER FOR APPOINTMENT casters t
PP LIC Me ay
OF GUARDIAN AD LITEM—CIVIL 1 Q- 5 7 38 g dj
[¥] EX PARTE -
NOTE: This form is for use in civil proceedings in which a party is a minor, an incapacitated person, or a person for
whom a conservator has been appointed. A party who seeks the appointment of a guardian ad litem in a family law or
juvenile proceeding should use form FL-935. A party who seeks the appointment of a guardian ad litem in a probate
proceeding should use form DE-350/GC-100. An individual cannot act as a guardian ad litem unless he or she is
represented by an attorney or is an attorney.
4. Applicant (name): Eric Totah is
a, the parent of (name): Jayden Totah
b, L__] the guardian of (name):
c. [__] the conservator of (name):
d. a party to the suit.
e. the minor to be represented (if the minor is 14 years of age or older).
f. [_] another interested person (specify capacity):
2. This application seeks the appointment of the following person as guardian ad litem (state name, address, and telephone number)
Eric Totah (831-566-4619)
Hiolani Street
Pukalani, Hawaii
3. The guardian ad Iitem is to represent the interests of the following person (state name, address, and telephone number):
Jayden Totah
4, The person to be represented is:
a. a minor (date of birth): 7/27/2016
b. [__] an incompetent person.
Cc. a person for whom a conservator has been appointed.
5, The court should appoint a guardian ad litem because:
a. the person named in item 3 has a cause or causes of action on which suit should be brought (describe);
The minor child, Jayden totah, suffered a traumatic amputation of his small finger while riding an
escalator at SFO.
[| Continued on Attachment 5a.
Page 1 of 2
Form opted for Maney APPLICATION AND ORDER FOR APPOINTMENT Code of a a7 elson
WW.0t0 (Rev. January 1, 200 OF GUARDIAN AD LITEM—CIVIL
Case 3:19-cv-03842-JSC Document1 Filed 07/02/19 Page 31 of 59

 

 

 

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CIV-010
PLAINTIFF/PETITIONER: Eric Totah CASE NUMBER:
DEFENDANT/RESPONDENT: City and County of San Francisco, et. al. CGC - 1 9 - 5 7 3 8 9 by

 

 

5. b. [__] more than 10 days have elapsed since the summons in the above-entitled matter was served on the person named
in item 3, and no application for the appointment of a guardian ad litem has been made by the person identified in
item 3 or any other person.

c, (_] the person named in item 3 has no guardian or conservator of his or her estate.

d. the appointment of a guardian ad litem is necessary for the following reasons (specify):
To maintain a civil lawsuit for damages on behalf of the minor child.

L-] Continued on Attachment 5d.

6. The proposed guardian ad litem's relationship to the person he or she will be representing is:
a. related (state relationship): Father

b. L__] not related (specify capacity):

7. The proposed guardian ad litem is fully competent and qualified to understand and protect the rights of the person he or she will
represent and has no interests adverse to the interests of that person. (if there are any issues of competency or qualification or
any possible adverse interests, describe and explain why the proposed guardian should nevertheless be appointed):

[] Continued on Attachment 7.
Joseph Hoffman » =

(TYPE OR PRINT NAME) ee ATTORNEY)

 

 

| declare under penalty of perjury under the laws of the State of California that the foregoing Is true and bOrrect.

Date: January Z*, 2019.

Eric Totah > ane toth

(TYPE OR PRINT NAME) (SIGNATURE OF APPLICANT)

 

 

 

CONSENT TO ACT AS GUARDIAN AD LITEM

| consent to the appointment as guardian ad litem under the above petition.

Date: January £92019. be ™
Eric Totah > ALU

(TYPE OR PRINT NAME) (SIGNATURE OF PROPOSED GUARDIAN AD LITEM)

 

 

ORDER [W] EX PARTE

THE COURT FINDS that it is reasonable and necessary to appoint a guardian ad litem for the person named in Item 3 of the
application, as requested.

fo
THE COURT ORDERS that (name): Eric Totah F
is hereby appointed as the guardian ad litem for (name): Jayden Totah

for the reasons set forth in item 5 of the application. cn Gs
Pe Team ZS, 2olf
JUPICH
[_] sioNaTuRE FOLLOWS GARRETT L.. WONG

CIV-010 (fev, January 1, 2008 APPLICATION AND ORDER FOR APPOINTMENT Page 20f2
OF GUARDIAN AD LITEM—-CIVIL

 

 
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SUPERIOR COURT OF CALIFORNIA
COUNTY OF SAN FRANCISCO

Document Scanning Lead Sheet
Mar-04-2019 10:46 am

 

Case Number: CGC-19-573894
Filing Date: Mar-04-2019 10:43
Filed by: JHULIE ROQUE
Image: 06710855
PETITION OF APPOINTMENT OF GUARDIAN AD LITEM.

 

 

 

JAYDEN TOTAH ET AL VS. KONE CORPORATION ET AL

001006710855

Instructions:
Please place this sheet on top of the document to be scanned.
Case 3:19-cv-03842-JSC Document 1 Filed 07/02/19 Page 33 of 59

Exhibit

   

Exhibit
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Ann M. Asiano, Esq., SBN 94891
Matthew T. Brand, Esq., SBN 295377
CLARK HILL LLP

One Embarcadero Center, Suite 400
San Francisco, CA 94111

Telephone: (415) 984-8500
Facsimile; (415) 984-8599
AAsiano@ClarkHill.com
MBrand@ClarkHill.com

Attorneys for Defendant
CITY AND COUNTY OF SAN FRANCISCO

SUPERIOR COURT OF THE STATE OF CALIFORNIA

COUNTY OF SAN FRANCISCO
JAYDEN TOTAH, minor, by and through his Case No. CGC-19-573894
Guardian Ad Litem; ANNE-MARIE TOTAH;
ERIC TOTAH, DEFENDANT CITY AND COUNTY OF SAN
FRANCISCO’S ANSWER TO PLAINTIFFS:
Plaintiffs, COMPLAINT

Vv.

KONE CORPORATION; THYSSENKRUPP
ELEVATOR AMERICA; CITY AND
COUNTY OF SAN FRANCISCO; DOES 1-15,
Complaint Filed: February 20, 2019

Defendants.

 

 

 

 

Defendant CITY AND COUNTY OF SAN FRANCISCO (hereinafter “CCSF” or
“answering defendant”) answers the Complaint on file herein by Plaintiffs JAYDEN TOTAH, minor,
by and through his Guardian Ad Litem, ANNE-MARIE TOTAH and ERIC TOTAH (hereinafter
referred to as “Plaintiffs”), Pursuant to CALIFORNIA CODE OF CIVIL PROCEDURE Sections 431,30, and
431.30(d), CCSF generally denies Plaintiffs’ unverified Complaint in its entirety and each cause of
action, all and singular, generally and specifically, the allegations contained in the unverified
complaint. CCSF further specifically denies that Plaintiffs have been damaged in any sum or sums, or
at all.

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DEFENDANT CCSF’S ANSWER TO PLAINTIFFS’ COMPLAINT
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AFFIRMATIVE DEFENSES
CCSF alleges the following in its Answer:
FIRST AFFIRMATIVE DEFENSE
AS A FIRST, SEPARATE AND DISTINCT AFFIRMATIVE DEFENSE TO THE
UNVERIFIED COMPLAINT ON FILE HEREIN, CCSF alleges that Plaintiffs were themselves

careless and negligent in and about the matters alleged in the complaint, and that said carelessness

and negligence on Plaintiffs’ own part proximately contributed to the happening of the incident and to

the injuries, loss and damages complained of, if any there were, and said negligence on the part of the

| Plaintiffs shall dimiish their recovery herein in direct proportion to the extent of such negligence

under the doctrine of comparative negligence.
SECOND AFFIRMATIVE DEFENSE

AS A SECOND, SEPARATE AND DISTINCT AFFIRMATIVE DEFENSE TO THE
UNVERIFIED COMPLAINT ON FILE HEREIN, CCSF alleges that prior to and at the time of the
occutrence of the alleged incident which is the subject of Plaintiffs’ complaint, Plaintiffs had
knowledge of those matters alleged in the complaint, that Plaintiffs did with the above-mentioned
knowledge voluntarily and of their own free will place themselves in an unsafe and dangerous
position, and by reason thereof said Plaintiffs had assumed the risk and all risks ordinarily incident
thereto; and said assumption of risk bars recovery herein.

THIRD AFFIRMATIVE DEFENSE

AS A THIRD, SEPARATE AND DISTINCT AFFIRMATIVE DEFENSE TO THE
UNVERIFIED COMPLAINT ON FILE HEREIN, CCSF alleges that neither the complaint, nor any
of the alleged causes of action therein, states facts sufficient to constitute a cause of action against
CCSF., To the extent that the allegations of Plaintiffs’ complaint attempt to enlarge upon the facts
and/or contention set forth if a claim if any, filed by Plaintiffs, the Complaint fails to state a cause of
action, and violates the provisions of CALIFORNIA GOVERNMENT CODE, Chapter 1 commencing with
Section 900) and Chapter 2 (commencing with Section 910), This answering defendant reserves the
right to strike any such allegations and objects to any evidence directed to prove them.

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DEFENDANT CCSF’S ANSWER TO PLAINTIFFS’ COMPLAINT

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FOURTH AFFIRMATIVE DEFENSE
AS A FOURTH, SEPARATE AND DISTINCT AFFIRMATIVE DEFENSE TO THE
UNVERIFIED COMPLAINT ON FILE HEREIN, CCSF alleges that any and all acts or omissions of
this answering defendant, its agents or employees, which allegedly caused the injuries or damages set
forth in Plaintiffs’ complaint, were the result of the exercise of discretion vested in them, Pursuant to
CALIFORNIA GOVERNMENT CODE § 815.2 and 820.2, this answering defendant is, therefore, not liable
for the alleged injuries and damages complained of.
FIFTH AFFIRMATIVE DEFENSE
AS A FIFTH, SEPARATE AND DISTINCT AFFIRMATIVE DEFENSE TO THE
UNVERIFIED COMPLAINT ON FILE HEREIN, CCSF alleges that Plaintiffs failed to mitigate their
alleged damages as required by law,
SIXTH AFFIRMATIVE DEFENSE
AS A SIXTH, SEPARATE AND DISTINCT AFFIRMATIVE DEFENSE TO THE
UNVERIFIED COMPLAINT ON FILE HEREIN, CCSF alleges that if there is any negligence or
liability of any of the parties named herein, it is the sole and exclusive negligence of other defendants
and not of CCSF. Therefore, Plaintiffs have failed to join all necessary and indispensable parties to
this action that may have contributed and/or caused the alleged incident.
SEVENTH AFFIRMATIVE DEFENSE
AS A SEVENTH, SEPARATE AND DISTINCT AFFIRMATIVE DEFENSE TO THE
UNVERIFIED COMPLAINT ON FILE HEREIN, CCSF alleges that said damages sustained by
Plaintiffs were, either wholly or in part, negligently caused by persons, firms, corporations or entities
other than this answering defendant, and said negligence comparatively reduces the percentage of
negligence, if any, by this answering defendant.
EIGHTH AFFIRMATIVE DEFENSE
AS AN EIGHTH, SEPARATE AND DISTINCT AFFIRMATIVE DEFENSE TO THE
UNVERIFIED COMPLAINT ON FILE HEREIN, CCSF alleges that at all times and places set
forth in the complaint and the individual causes of action thereof Plaintiffs were actively negligent in
and about the matters alleged therein and because of such active negligence is barred from recovery

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DEFENDANT CCSF’S ANSWER TO PLAINTIFFS’ COMPLAINT

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herein.
NINTH AFFIRMATIVE DEFENSE

AS A NINTH, SEPARATE AND DISTINCT AFFIRMATIVE DEFENSE TO THE
UNVERIFIED COMPLAINT ON FILE HEREIN, this answering defendant’s liability, if any, and
which liability is expressly denied, shall be allocated in accordance with CALIFORNIA CIVIL CODE
SECTION 1431 et seg. (Prop. 51).

TENTH AFFIRMATIVE DEFENSE

AS A TENTH, SEPARATE AND DISTINCT AFFIRMATIVE DEFENSE TO THE
UNVERIFIED COMPLAINT ON FILE HEREIN, this answering defendant without admitting
liability or that Plaintiffs have suffered or will suffer any loss, damage or injury, answering defendant
alleges, in the alternative, that any loss, damage or injury which Plaintiffs have suffered or will suffer,
as alleged in the Complaint or otherwise, is the direct and proximate result of the
unforeseen/unforeseeable negligent, grossly negligent or criminal acts or omissions of an intervening
third party or parties, or other acts or omissions for which such party or parties may be strictly liable,
and that such acts or omissions completely bar any recovery against this answering defendant.
Pursuant to CALIFORNIA GOVERNMENT CODE §820.8, this answering defendant is, therefore, not
Hable for any such alleged injuries or damages complained of.

ELEVENTH AFFIRMATIVE DEFENSE

AS AN ELEVENTH, SEPARATE AND DISTINCT AFFIRMATIVE DEFENSE
(WEIGHING OF BENEFITS VERSUS HARM) TO THE UNVERIFIED COMPLAINT ON FILE
HEREIN, CCSF alleges that Crvit CODE §§ 1431.1, ef seq., limit general damages and abate joint and
several liability, CCSF requests that the Court apportion the damages, if any, and requires CCSF to
pay only its fair and legal percentage of liability as determined by the trier of fact and/or law,

TWELFTH AFFIRMATIVE DEFENSE

AS A TWELFTH, SEPARATE AND FURTHER AFFIRMATIVE DEFENSE TO THE
COMPLAINT, AND EACH ALLEGED CAUSE OF ACTION THEREOF, CCSF alleges that
Plaintiffs’ complaint, each claim asserted therein and any and all acts of omissions of this answering
defendant, its agents or employees, which allegedly created a dangerous condition of the property at

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DEFENDANT CCSE’S ANSWER TO PLAINTIFFS’ COMPLAINT

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the time and place of incident alleged in Plaintiffs’ complaint, is barred on the grounds that CCSF’s
actions were in accordance with and/or approval of a master plan and design for construction of an
improvement of public property, which plan and design had been approved in advance of the
construction and improvement by the proper legislative body and public employees exercising
discretionary authority to give such approval; said plan and design were prepared in conformity with
standards previously so approved; and said approvals were reasonable, Pursuant to CALIFORNIA
GOVERNMENT CODE §830.6, this answering defendant’s actions, therefore, were completely
privileged and immune from liability. Thus, this answering defendant is not liable for any of the
alleged injuries or damages complained of.
THIRTEENTH AFFIRMATIVE DEFENSE

AS A THIRTEENTH, SEPARATE AND FURTHER AFFIRMATIVE DEFENSE TO THE
COMPLAINT, AND EACH ALLEGED CAUSE OF ACTION T HEREOF, CCSF alleges that it is
entitled to recover reasonable expenses including, but not limited to attorney’s fees and costs from
Plaintiffs and their counsel in that Plaintiffs’ complaint on file herein is frivolous; was brought and
maintained without reasonable cause and in bad faith, and therefore is totally and completely without
merit. (CALIFORNIA GOVERNMENT CODE §§ 128.5, 128.7, 1021.7, and 1038.)

FOURTEENTH AFFIRMATIVE DEFENSE

AS A FOURTEENTH, SEPARATE AND FURTHER AFFIRMATIVE DEFENSE TO THE
COMPLAINT, AND EACH ALLEGED CAUSE OF ACTION THEREOF, CCSF alleges that
Plaintiffs’ complaint is barred to the extent that said complaint is not substantially identical with the
scope of Plaintiffs’ claims, if any, pursuant to the California Tort Claim Act.

FIFTEENTH AFFIRMATIVE DEFENSE
AS A FIFTEENTH, SEPARATE AND DISTINCT AFFIRMATIVE DEFENSE TO

THE UNVERIFIED COMPLAINT ON FILE HEREIN, CCSF alleges that Plaintiffs were
responsible for the acts and damages of which they complain, and by reason thereof are estopped
from obtaining any damages as a result thereof. This defense applies both to equitable estoppel as
well as judicial estoppel.

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_ _DEFENDANT CCSE’S ANSWER TO PLAINTIFFS’ COMPLAINT

 
Case 3:19-cv-03842-JSC Document1 Filed 07/02/19 Page 39 of 59

1 SIXTEENTH AFFIRMATIVE DEFENSE
2 AS A SIXTEENTH, SEPARATE AND DISTINCT AFFIRMATIVE DEFENSE TO
3 |} THE UNVERIFIED COMPLAINT ON FILE HEREIN, CCSF alleges that Plaintiffs failed to file
4 || said complaint within the time delineated in the applicable statute of limitations.
5 SEVENTEENTH AFFIRMATIVE DEFENSE

AS A SEVENTEENTH, SEPARATE AND DISTINCT AFFIRMATIVE DEFENSE TO THE
UNVERIFIED COMPLAINT ON FILE HEREIN, CCSF alleges that Plaintiffs are barred by reason

of the fact that CCSF is immune from prosecution under the claims and for the acts alleged by virtue

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of CALIFORNIA GOVERNMENT CODE SECTION 800 ef seg., and more particularly but not limited to §§
10 || 815, 815.4, 815.6, 818, 818.6, 818.8, 820.2, 820.4, 820.6, 820.8, 821, 821.4, 821.6, 821.8, 830 AND
11 || 835 et seq., and by virtue of CALIFORNIA GOVERNMENT CODE §§ 900 ef seq.

12 EIGHTEENTH AFFIRMATIVE DEFENSE

13 |h- AS AN EIGHTEENTH, SEPARATE AND DISTINCT AFFIRMATIVE DEFENSE TO THE
14 |} UNVERIFIED COMPLAINT ON FILE HEREIN, CCSF alleges that Plaintiffs failed to present a

15 || GOVERNMENT TORT CLAIM pursuant to the applicable portions of the CALIFORNIA GOVERNMENT

 

16 || Cops,
17 NINETEENTH AFFIRMATIVE DEFENSE
18 AS A NINETEENTH, SEPARATE AND DISTINCT AFFIRMATIVE DEFENSE TO THE

19 |} UNVERIFIED COMPLAINT ON FILE HEREIN, CCSF alleges that CCSF cannot be held
20 || vicariously liable for any other parties’ actions, pursuant to the court’s holding in John R. v. Oakland
21 || Unified School District.

22 TWENTIETH AFFIRMATIVE DEFENSE

23 AS A TWENTIETH, SEPARATE AND DISTINCT AFFIRMATIVE DEFENSE TO THE
24 |} UNVERIFIED COMPLAINT ON FILE HEREIN, CCSF alleges that CCSF’s actions in investigating
25 {| and addressing Plaintiffs’ allegations are privileged and immune from liability pursuant to all
26 || applicable code sections, including but not limited to GOVERNMENT CODE SECTION 810-996.6
27 || inclusive, and the court’s holding in Nicole M. v, Martinez Unified School District.

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DEFENDANT CCSF’S ANSWER TO PLAINTIFFS’? COMPLAINT

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TWENTY-FIRST AFFIRMATIVE DEFENSE
AS A TWENTY-FIRST, SEPARATE AND DISTINCT AFFIRMATIVE DEFENSE TO
THE UNVERIFIED COMPLAINT ON FILE HEREIN, CCSF alleges that Plaintiffs’ claims are
barred against CCSF pursuant to the principals of sovereign immunity, including but not limited to
Amendment XI of the United States Constitution.
| TWENTY-SECOND AFFIRMATIVE DEFENSE
AS A TWENTY-SECOND, SEPARATE AND DISTINCT AFFIRMATIVE DEFENSE TO
THE UNVERIFIED COMPLAINT ON FILE HEREIN, CCSF alleges that the causes of action
contained in Plaintiffs’ complaint fail to set forth any statutory basis for the causes of actions. The
condition of the property as alleged in Plaintiffs’ complaint did not constitute a substantial risk of
injuries, but rather a minor, trivial, or insignificant risk which did not create a dangerous condition of
the property and, therefore, those causes of action are barred. In particular, Plaintiffs have failed to
articulate a dangerous condition as required by GOVERNMENT CODE §830.2; 835, 835.2 ed. seq.
TWENTY-THIRD AFFIRMATIVE DEFENSE
AS A TWENTY-THIRD, SEPARATE AND DISTINCT AFFIRMATIVE DEFENSE TO
THE UNVERIFIED COMPLAINT ON FILE HEREIN, CCSF alleges that this complaint is barred
by the doctrine of laches, failure of conditions and unclean hands.
TWENTY-FOURTH AFFIRMATIVE DEFENSE
AS A TWENTY-FOURTH, SEPARATE AND FURTHER AFFIRMATIVE DEFENSE TO
THE COMPLAINT, AND EACH ALLEGED CAUSE OF ACTION THEREOF, CCSF alleges that,
at the time and place of the injuries alleged in the Complaint, Plaintiffs were not exercising ordinary
care, caution or prudence to prevent the acts complained of from occurring, and that the injuries and
damages, if any, as alleged in the Complaint and which herein are denied, were proximately caused
by the Plaintiffs’ own failure to exercise ordinary care, caution and prudence.
TWENTY-FUPTH AFFIRMATIVE DEFENSE
AS A TWENTY-FIFTH, SEPARATE AND FURTHER AFFIRMATIVE DEFENSE TO
THE COMPLAINT, AND EACH ALLEGED CAUSE OF ACTION THEREOF, CCSF alleges that
Plaintiffs were given or had available to their administrative remedies, the administrative remedies

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DEFENDANT CCSF’S ANSWER TO PLAINTIFFS’? COMPLAINT

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were not exhausted and has therefore failed to state a claim upon which relief can be granted.
TWENTY-SIXTH AFFIRMATIVE DEFENSE |

AS A TWENTY-SIXTH, SEPARATE AND FURTHER AFFIRMATIVE DEFENSE TO
THE COMPLAINT, AND EACH ALLEGED CAUSE OF ACTION THEREOF, CCSF alleges that
at all times mentioned in the complaint on file herein, and immediately prior thereto, CCSF acted
reasonably and in good faith within its specific authority and jurisdiction and upon reasonable
grounds, and with the reasonable belief in the lawfulness of its conduct, Any and all acts or omissions
of this answering defendant, its agents or employees, which allegedly created a condition of property
or relative to the condition of the property at the time and place alleged in Plaintiffs’ complaint, were
reasonable, Pursuant to CALIFORNIA GOVERNMENT CODE § 835.4(a) and § 835.4(b) this answering
defendant, is, therefore, not liable for any of the alleged injuries or damages complained of.

TWENTY-SEVENTH AFFIRMATIVE DEFENSE

AS A TWENTY-SEVENTH, SEPARATE AND FURTHER AFFIRMATIVE DEFENSE TO
THE COMPLAINT, AND EACH ALLEGED CAUSE OF ACTION THEREOF, CCSF alleges that
the Complaint and each cause of action stated therein are barred by Plaintiffs’ waiver of those claims.

TWENTY-EIGHTH AFFIRMATIVE DEFENSE

AS A TWENTY-EIGHTH, SEPARATE AND FURTHER AFFIRMATIVE DEFENSE TO
THE COMPLAINT, AND EACH ALLEGED CAUSE OF ACTION THEREOF, CCSF alleges that
at all relevant times, an entity and/or person(s) other than this answering Defendant acted in a
negligent, careless and reckless manner which is a superseding intervening cause of Plaintiffs’
injuries, losses and damages, if any, as alleged in the Complaint and which herein are denied.

TWENTY-NINTH AFFIRMATIVE DEFENSE

AS A TWENTY-NINTH, SEPARATE AND FURTHER AFFIRMATIVE DEFENSE TO,
THE COMPLAINT, AND EACH ALLEGED CAUSE OF ACTION THEREOF, CCSF alleges that
Plaintiffs acknowledged, ratified, consented to or acquiesced in the acts or omissions of Defendant, if
any, as alleged in the Complaint and which hereby are denied, thus barring Plaintiffs from any relief
as prayed for in the Complaint.

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DEFENDANT CCSF’S ANSWER TO PLAINTIFFS’ COMPLAINT

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THIRTIETH AFFIRMATIVE DEFENSE
AS A THIRTIETH, SEPARATE AND FURTHER AFFIRMATIVE DEFENSE TO THE
COMPLAINT, AND EACH ALLEGED CAUSE OF ACTION THEREOF, CCSF alleges,
adopts and incorporates any and all other defenses raised or to be raised by any other defendant
joined in this litigation to the extent that said defenses are not inconsistent with CCSF’s assertions
that it is not liable to Plaintiffs or anyone for any amount whatsoever arising out of this lawsuit.
THIRTY-FIRST AFFIRMATIVE DEFENSE
AS A THIRTY-FIRST, SEPARATE AND FURTHER AFFIRMATIVE DEFENSE TO THE
COMPLAINT, AND EACH ALLEGED CAUSE OF ACTION THEREOF, CCSF reserves the right
to raise additional affirmative and other defenses as they are discovered or otherwise become
available.
THIRTY-SECOND AFFIRMATIVE DEFENSE
AS A THIRTY-SECOND, SEPARATE AND FURTHER AFFIRMATIVE DEFENSE TO
THE COMPLAINT, AND EACH ALLEGED CAUSE OF ACTION THEREOF, CCSF alleges that
Plaintiffs’ damages, if any, are limited, excluded, and/or preempted by and pursuant to the provisions
of the AIRLINE DEREGULATION ACT, 49 U.S.C, §41713,
THIRTY-THIRD AFFIRMATIVE DEFENSE
AS A THIRTY-THIRD, SEPARATE AND FURTHER AFFIRMATIVE DEFENSE TO THE
COMPLAINT, AND EACH ALLEGED CAUSE OF ACTION THEREOF, CCSF alleges that
Plaintiffs’ Complaint is barred on the grounds that the FEDERAL AVIATION ACT (P.L. 5-726, 72,
formerly codified as 49 U.S. C. § 1301, et. seg. now recodified into 49 U.S, C. §40101 ef, seq.)
THIRTY-FOUORTH AFFIRMATIVE DEFENSE
AS A THIRTY-FOURTH, SEPARATE AND FURTHER AFFIRMATIVE DEFENSE TO
THE COMPLAINT, AND EACH ALLEGED CAUSE OF ACTION THEREOF, CCSF is not liable
because the alleged defect Plaintiffs complains of in their Complaint was open and obvious.
TOIRTY-FIF TH AFFIRMATIVE DEFENSE
AS A THIRTY-FIFTH, SEPARATE AND FURTHER AFFIRMATIVE DEFENSE TO THE
COMPLAINT, AND EACH ALLEGED CAUSE OF ACTION THEREOF, CCSF alleges that

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DEFENDANT CCSF’S ANSWER TO PLAINTIFFS’ COMPLAINT

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Plaintiffs had the last clear chance to avoid the alleged defect complained of Plaintiffs’ Complaint.
THIRT Y-SIXTH AFFIRMATIVE DEFENSE

AS A THIRTY-SIXTH, SEPARATE AND FURTHER AFFIRMATIVE DEFENSE TO THE
COMPLAINT, AND EACH ALLEGED CAUSE OF ACTION THEREOF, CCSF alleges that the
premises condition which is alleged to have caused Plaintiffs’ injuries as complained. of Plaintiffs’
Complaint was not discoverable by reasonable inspection.

THIRTY-SEVENTH AFFIRMATIVE DEFENSE

AS A THIRTY-SEVENTH, SEPARATE AND FURTHER AFFIRMATIVE DEFENSE TO
THE COMPLAINT, AND EACH ALLEGED CAUSE OF ACTION THEREOF, Plaintiffs’
complaint is barred in its entirety for failure to assert any statutory basis upon which this answering
defendant may be liable. There is no common law governmental tort liability in California, and a
public entity is not liable for any act or omission of itself unless otherwise provided by statute which
has not been pled. California Government Code §§ 815, 815.2, 818, 818.8, 820.2, 820.4, 820.6,
820.8, 821.6 and 822.2, and California Penal Code §§ 834a, 835, 835a and 847.

THIRTY -EIGHTH AFFIRMATIVE DEFENSE

AS A THIRTY-EIGHTH, SEPARATE AND FURTHER AFFIRMATIVE DEFENSE TO
THE COMPLAINT, AND EACH ALLEGED CAUSE OF ACTION THEREOF, Plaintiffs have
failed to comply with the claims presentation and/or filing requirements of Government Code §§ 900
et seq., including, particularly, $§ 901, 905, 910, 911.2, 911.4, 945.4, 945.6, 950.2 and Code of Civil
Procedure § 313.

THIRTY -NINTH AFFIRMATIVE DEFENSE

AS A THIRTY-NINTH, SEPARATE AND FURTHER AFFIRMATIVE DEFENSE TO THE
COMPLAINT, AND EACH ALLEGED CAUSE OF ACTION THEREOF, CCSF did not create the
alleged condition. Government Code § 835¢a), |

FORTIETH AFFIRMATIVE DEFENSE

AS A FORTIETH, SEPARATE AND FURTHER AFFIRMATIVE DEFENSE TO THE
COMPLAINT, AND EACH ALLEGED CAUSE OF ACTION THEREOF, CCSF was not put on
actual or constructive notice of alleged condition. Government Code §§ 835(b) and 835.2,

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DEFENDANT CCSF’S ANSWER TO PLAINTIFFS’ COMPLAINT

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FORTY-FIRST AFFIRMATIVE DEFENSE

AS A FORTY-FIRST, SEPARATE AND FURTHER AFFIRMATIVE DEFENSE TO THE

COMPLAINT, AND EACH ALLEGED CAUSE OF ACTION THEREOF, Plaintiffs’ complaint is

fatally defective to the extent that it attempts to state causes of action and/or facts not fairly reflected

in a timely filed government tort claim.

WHEREFORE, CCSF prays as follows:
1,

That Plaintiffs take nothing by their Complaint and that CCSF be dismissed;

2. For reasonable attorneys’ fees

3, That judgment be rendered in favor of CCSF;

4, That CCSF be awarded costs incurred in defense of this action; and

5. That the Court provide such other relief as it deems fit and proper,
Dated: June 25, 2019 CLARK HILL LLP

Meneentanae

“Ann M,. Asiano
Matthew T. Brand

Attorneys for Defendant
CITY AND COUNTY OF SAN FRANCISCO

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DEFENDANT CCSF’S ANSWER TO PLAINTIFFS’ COMPLAINT

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PROOF OF SERVICE

I am employed in the county of San Francisco, State of California, I am over the age of 18 and
not a party to this action. My business address is One Embarcadero Center, Suite 400, San Francisco,

California 94111.
On June 25, 2019, I served the foregoing document, described as

DEFENDANT CITY AND COUNTY OF SAN FRANCISCO’S ANSWER TO
PLAINTIFFS’ COMPLAINT

on the interested parties in this action by placing a true copy of said documents enclosed in separate
sealed envelopes to the following addresses:

Joseph Hoffman, Esq. Attorneys for Plaintiffs
WEINBERG-HOFFMAN LLC

679 Bridgeway

Sausalito, CA 94965

Mark Oium, Esq. Attorneys for Defendant

OIUM REYEN & PRYOR KONE INC,
220 Montgomery Street

Suite 910

San Francisco, CA 94104

Tel: 415-392-8300

mark@orplaw.com

Attorneys for Defendant

Christopher T, Olsen, Esq. THYSSENKRU wT VATOR A
OLSEN & BRUEGGEMANN APC PP ELE MERICA

2150 Park Place
Suite 100
El Segundo, CA 90245

cto@oblawape.com

BY EMAIL ~ I caused the above-referenced document to be transmitted via email to the
parties as listed on this Proof of Service,

XXX BY ELECTRONIC TRANSMISSION: I submitted the document(s) via E-Filing through
File&ServeXpress for E-service on the recipients designated on the Transaction Receipt located on the
File&ServeXpress website.

I declare under penalty of perjury under the laws of the statd of California, that the above is true

and correct. Executed on June 25, 2019 at San Francisco, California.

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PROOF OF SERVICE

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| JAYDEN TOTAH, MINOR, BY AND

 

 

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Christopher T. Olsen, Esq. (Bar No. 143915)
Mark Brueggemann, Esq. (Bar No. 183660)
Thomas M. Gaffney, (Bar No. 321456)
OLSEN & BRUEGGEMANN

2150 Park Place, Suite 100

El Segundo, California 90245

Phone: 310-773-3280

Attorneys for Detendant/Cross-Defendant, thyssenkrupp Elevator Corporation

SUPERIOR COURT FOR THE STATE OF CALIFORNIA
FOR THE COUNTY OF SAN FRANCISCO

Case No. CGC-19-573894

THYSSENKRUPP ELEVATOR
CORPORATION'S ANSWER TO
COMPLAINT

THROUGH HIS GUARDIAN AD LITEM;
ANNE-MARIE TOTAH; ERIC TOTAH,

Plaintiffs,

V.

Action Filed: February 20, 2019

ELEVATOR AMERICA; CITY & COUNTY
OF SAN FRANCISCO; and DOES 1 to 15,
inclusive,

_ Defendants.
THYSSENKRUPP ELEVATOR
CORPORATION,

Cross-Complainants,
Vv.
ROES 1-25, inclusive,

Cross-Defendants. 7

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COMES NOW Defendant, thyssenkrupp Elevator Corporation, and answering the

unverified Complaint (“Complaint”) of Plaintiff Jayden Totah, Minor, By and Through His

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THYSSENKRUPP ELEVATOR CORPORATION'S ANSWER TO COMPLAINT

 
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Guardian Ad Litem; Anne-Marie Totah; Eric Totah, (“Plaintiff”) for itself alone and not for any
other Defendant herein, and hereby admits, denies and alleges as follows:

1, Under the provisions of §431.30(d) of the California Code of Civil Procedure, this
answering Defendant denies generally and specifically each, every and all of the allegations
contained in said unverified Complaint and the whole thereof, and each and every alleged cause
of action thereof, and particularly denies that Plaintiffs sustained any injuries or damages in the

sum or sums alleged, or in any other sum or sums, or at all.

FOR A FIRST, SEPARATE AND DISTINCT AFFIRMATIVE
DEFENSE HEREIN, THIS ANSWERING DEFENDANT ALLEGES:

2, This answering Defendant is informed and believes and upon such information

| and belief alleges, that prior to and at the time of the incident, as alleged in said unverified

‘Complaint, Plaintiffs were careless and negligent in the manner in which they conducted

themselves in, on, and about the premises referred to in the unverified Complaint, and in the use
thereof. Further, said Plaintiffs were careless and negligent i in that they failed to keep a proper
outlook for their own safety and welfare and failed to exercise such control over their persons

and activities so as to avoid the accident, and failed to use ordinary care under the conditions and
circumstances existing, Said carelessness and negligence as aforesaid proximately caused and
contributed to the injuries, if any, and the damages, if any, sustained by the Plaintiffs, and

reduces Plaintiffs’ right to recover in proportion to the degree of fault attributable to Plaintiffs.

FORA SECOND, SEPARATE, AND DISTINCT AFFIRMATIVE
DEFENSE HEREIN, THIS AN SWERING DEFENDANT ALLEGES: .

3, This answering Defendant i is informed and believes, and upon such information
and belief alleges, that prior to and at the time of the accident, as alleged in Plaintiffs’ unverified
Complaint, Plaintiffs were aware of the conditions existing in, on and about said premises, and
with full knowledge of the conditions, voluntarily placed themselves in the location and position
referred to in the unverified Complaint and conducted herself in such a manner so as to assume

any risk involved under the conditions and circumstances existing,

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THYSSENKRUPP ELEVATOR CORPORATION'S ANSWER TO COMPLAINT
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FOR A THIRD, SEPARATE, AND DISTINCT AFFIRMATIVE
DEFENSE, THIS ANSWERING DEFENDANT ALLEGES:

4. This answering Defendant is informed and believes, and upon such information
and belief alleges, that Plaintiffs failed to use the subject product in such a manner as it was
intended or reasonably foreseeable to this Defendant. Said misuse proximately caused and

contributed to the injuries and damages, if any, sustained by the Plaintiffs.

FOR A FOURTH, SEPARATE, AND DISTINCT AFFIRMATIVE
DEFENSE, THIS ANSWERING DEFENDANT ALLEGES; |

5, Plaintiffs’ unverified Complaint, and each alleged cause of action thereof, fails to
state grounds upon which relief may be granted, under any of the theories relied upon by

Plaintiffs, or under any theories whatsoever.

FOR A FIFTH, SEPARATE, AND DISTINCT AFFIRMATIVE
_ DEFENSE, THIS. AN SWERING DEFENDANT ALLEGES:

6. That any injuries and damages alleged by Plainifts, if any, a arose in whole or in

part due to Plaintiffs’ failure to mitigate their damages, if'any.

_ FOR A SIXTH, SEPARATE, AND DISTINCT AFFIRMATIVE
DEFENSE, THIS ANSWERING DEFENDANT ALLEGES:

7. Defendant denies that it was guilty of any acts of negligence and denies that any
acts on its part directly and proximately caused or contributed to any injuries or damages

allegedly sustained by Plaintiffs.

FOR A SEVENTH, SEPARATE, AND DISTINCT AFFIRMATIVE
DEFENSE, THIS ANSWERING DEFENDANT ALLEGES:

8, The damages alleged by Plaintiffs, if any, were proximately caused by the acts,
recklessness, carelessness, negligence and liability of other persons, individuals and entities and
this Defendant requests that an allocation of such lability be made among such other persons,
individuals and entities, and that, if any liability i is found on the part of this Defendant, judgment
against said Defendant be only in the amount which is proportionate to the extent and percentage

by which the Defendant's acts or omissions caused or contributed to the Plaintiffs’ damages.

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THYSSENKRUPP ELEVATOR CORPORATION’S ANSWER TO COMPLAINT

 
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FOR AN EIGHTH, SEPARATE, AND DISTINCT AFFIRMATIVE
DEFENSE, THIS ANSWERING DEFENDANT ALLEGES:

9, Plaintiffs are barred from the recovery sought herein pursuant to the provisions of
the applicable statute of limitations and/or statute of repose, including, but not limited to
California Code of Civil Procedure §§ §§ 335.1, 337, 337.1, 337.15, 338, 339, 340.5, 341, 343
and/or Commercial Code § 2725,

FOR A NINTH, SEPARATE, AND DISTINCT AFFIRMATIVE
DEFENSE, THIS ANSWERING DEFENDANT ALLEGES:

10. That if Plaintiffs suffered or sustained any loss, damage or injury at or about the
time and place alleged, the same were the direct and proximate result of the improper use, care,
repair, alteration maintenance and/or modification of the subject product by Plaintiffs, Plaintiffs’

agents and/or other individuals or entities other than this answering Defendant.

FORA TENTH, SEPARATE, AND DISTINCT AFFIRMATIVE
DEFENSE, THIS AN SWERING DEFENDAN T ALLEGES:

11. That the condition and/or circumstances alleged by Plaintiffs in the complaint, the
existence of which Defendant hereby denies, was open and obvious to Plaintiff's, and any claim

for relief by Plaintiffs are accordingly barred,

FOR AN ELEVENTH, SEPARATE, AND DISTINCT AFFIRMATIVE
DEFENSE, THIS ANSWERING DEFENDANT ALLEGES:

12, The subject product was not in a dangerous condition at the time of the alleged
incident, and was safe for its intended use and purpose, and contained sufficient warnings
thereupon at the time said product is alleged to have left the possession of this answering

Defendant,

FOR A TWELFTH, SEPARATE, AND DISTINCT AFFIRMATIVE |
DEFENSE, THIS ANSWERING DEFEND ANT ALLEGES:

13. This answering party is informed and believes and’on that basis alleges that under
and pursuant to the express terms of Civil Code Section 1431.1 through 1431.5, Plaintiffs are

barred from recovery against this answering party for any non-economic damages, except those

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THYSSENKRUPP ELEVATOR CORPORATION’S ANSWER TO COMPLAINT

 
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allocated to this party in direct proportion herein from parties actual percentage of any such fault,

or damages there may be.

FOR A THIRTEENTH, SEPARATE, AND DISTINCT AFFIRMATIVE
DEFENSE, THIS ANSWERING DEFENDANT ALLEGES:

14, That this answering party is informed and believes and based thereon alleges that
at all times relevant herein, Plaintiffs and/or Plaintiffs’ employer, principals and/or agents were
negligent in failing to properly supervise and control the activities of Plaintiffs and said failure
proximately resulted in all or some loss, damage and/or injury, if any, alleged to have been
suffered by Plaintiffs, and that Plaintiffs are thereby barred from recovering all or such portion of

said damages to the extent that Plaintiffs and/or Plaintiffs’ parent, agents were responsible for

such damages.

FOR A FOURTEENTH, SEPARATE, AND DISTINCT AFFIRMATIVE

DEFENSE, THIS ANSWERING DEFENDANT ALLEGES:
15. That the condition and/or circumstances alleged by Plaintiffs in the complaint, the

existence of which Defendant hereby denies, was trivial in nature, and any claim for relief is
accordingly barred,

FOR A FIFTEENTH SEPARATE, AND DISTINCT AFFIRMATIVE
DEFENSE, THIS ANSWERING DEFENDANT ALLEGES:

16. Plaintiffs’ complaint contains improper requests for damages not authorized by

the causes of action asserted.

FOR A SIXTEENTH SEPARATE, AND DISTINCT AFFIRMATIVE
DEFENSE, THIS ANSWERING DEFENDANT ALLEGES:

17. Plaintiffs have waived and/or released any right to recovery upon the facts alleged

in the Complaint and is, therefore, barred from asserting such claims.

FOR A SEVENTEENTH SEPARATE, AND DISTINCT AFFIRMATIVE

DEFENSE, THIS ANSWERING DEFENDANT ALLEGES:

18. The losses and/or damages alleged by Plaintiffs, the existence of which Defendant

herein expressly denies, were proximately caused by the intervening and superseding acts of

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THYSSENKRUPP ELEVATOR CORPORATION'S ANSWER TO COMPLAINT

 
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others, which intervening and superseding acts bar and/or diminish Plaintiffs’ recovery, if any ,

against this answering Defendant.

FOR AN EIGHTEENTH SEPARATE, AND DISTINCT AFFIRMATIVE
DEFENSE, THIS ANSWERING DEFENDANT ALLEGES:

19, Plaintiffs are estopped from recovering damages from this answering Defendant.

FOR A NINETEENTH SEPARATE, AND DISTINCT AFFIRMATIVE
DEFENSE, THIS ANSWERING DEFENDANT ALLEGES:

20. Plaintiffs are estopped from seeking relief from Defendant herein because of the
following facts: Plaintiffs became aware of the facts sought to be relied upon in the Complaint
some time ago and have not provided reasonable notice, nor made a claim against this answering
Defendant within a reasonable time, to the prejudice of this answering Defendant. Said conduct

by Plaintiffs herein is inequitable and bars them from recovery herein.

FOR A TWENTIETH SEPARATE, AND DISTINCT AFFIRMATIVE
DEFENSE, THIS ANSWERING DEFENDANT ALLEGES:

21. Plaintiffs’ causes of action asserted herein are barred by Plaintiffs’ lack of privity

of contract, and/or are otherwise barred by the statute of frauds.

FOR A TWENTY-FIRST SEPARATE, AND DISTINCT AFFIRMATIVE
DEFENSE, THIS ANSWERING DEFENDANT ALLEGES:

22. Plaintiffs have waived any and all rights to recover damages from this answering

Defendant.

' FORA TWENTY-SECOND. D SEPARATE, AND DISTINCT AFFIRMATIVE
DEFENSE, THIS AN; SWERING DEFENDANT ALLEGES:

23. Plaintiff's’ action and relief in equity are batred by the Doctrine of Unclean

Hands.

FOR A TWENTY-THIRD SEPARATE, AND DISTINCT AFFIRMATIVE
DEFENSE, THIS ANSWERING DEFENDANT ALLEGES:

24. Any and all damages alleged by Plaintiffs were not pr oximately caused by any

acts, omissions, or conduct of this answering Defendant,

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THYSSENKRUPP ELEVATOR CORPORATION'S ANSWER TO COMPLAINT

 
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FOR A TWENTY-FOURTH SEPARATE, AND DISTINCT AFFIRMATIVE

DEFENSE, THIS ANSWERING DEFENDANT ALLEGES:

25. This answering Defendant alleges on information and belief that Defendant did
not have either actual or constructive notice of the conditions or circumstances alleged, if any,
which existed at the times and places mentioned in the Complaint, in order to have taken any

measures to protect against such conditions. Accordingly, Plaintiffs are barred from the relief

requested herein.

FOR A TWENTY-FIFTH, AND DISTINCT AFFIRMATIVE
DEFENSE, THIS ANSWERING DEFENDANT ALLEGES:

26. Plaintiffs consented to the acts allegedly taken by this answering Defendant,

thereby barring them from recovering damages from this answering Defendant,

FOR A TWENTY-SIXTH SEPARATE, AND DISTINCT AFFIRMATIVE

DEFENSE, THIS ANSWERING DEFENDANT ALLEGES:
27. Any and all events, happenings and damages, if any, as alleged in the Complaint,

were the result of an unforeseeable act of God,

FOR A TWENTY-SEVENTH SEPARATE, AND DISTINCT AFFIRMATIVE
DEFENSE, THIS ANSWERING DEFENDANT ALLEGES:

28. Plaintiffs are barred from any recovery in this action because this answering

Defendant at all times complied with the applicable standard of care.

FOR A TWENTY-EIGHTH, SEPARATE AND DISTINCT AFFIRMATIVE

DEFENSE, THIS ANSWERING DEFENDANT ALLEGES:

29. The Complaint, and each purported cause of action therein, is barred by the

doctrine of laches.

FOR A TWENTY-NINTH, SEPARATE AND DISTINCT AFFIRMATIVE
DEFENSE, THIS ANSWERING DEFENDANT ALLEGES:

30. Plaintiffs are barred from the relief requested herein as Plaintiffs did not

reasonably or justifiably rely on any promise, representation or warranty of Defendant herein.

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THYSSENKRUPP ELEVATOR CORPORATION'S ANSWER TO COMPLAINT

 
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FOR A THIRTIETH, SEPARATE, AND DISTINCT AFFIRMATIVE
DEFENSE, THIS ANSWERING DEFENDANT ALLEGES:

31. The Complaint, and each and every purported cause of action therein is subject to

dismissal due to Plaintiffs’ counsel’s delay in prosecution thereof.

FOR A THIRTY-FIRST, SEPARATE, AND DISTINCT AFFIRMATIVE

DEFENSE, THIS ANSWERING DEFENDANT ALLEGES:

32. Plaintiffs’ complaint contains improper requests for damages not authorized by

contract or statute.

FOR A THIRTY-SECOND, SEPARATE, AND DISTINCT AFFIRMATIVE

DEFENSE, THIS ANSWERING DEFENDANT ALLEGES:
33. Defendant denies that the subject product was unreasonably dangerous, but in the

event such product is found to be dangerous, which Defendant expressly denies, Defendant
alleges that the employer, principals and/or agents of Plaintiffs, knew and/or should have known
of the warnings regarding the product and of the possible dangers and risks incident to the
product, but failed to warn of such dangers and risks, and accordingly, such failure to warn was

the sole cause of Plaintiffs’ claimed damages and injuries, if any.

FOR A THIRTY-THIRD, SEPARATE, AND DISTINCT AFFIRMATIVE
DEFENSE, THIS ANSWERING DEFENDANT ALLEGES:

34, Plaintiffs are barred from suing this answering Defendant as this answering
Defendant did not place the alleged product in the stream of commerce, nor have any
involvement therewith.

FOR A THIRTY-FOURTH, SEPARATE, AND DISTINCT AFFIRMATIVE
DEFENSE, THIS ANSWERING DEFENDANT ALLEGES: ,

35. Plaintiffs are barred from suing this answering Defendant as any agreement
between this answering Defendant, any Cross-Defendants and/or Plaintiffs, if any, expressly
contained a provision excluding this and/or all liabilities.

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THYSSENKRUPP ELEVATOR CORPORATION’S ANSWER TO COMPLAINT

 
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FOR A THIRTY-FIFTH SEPARATE, AND DISTINCT AFFIRMATIVE
DEFENSE, THIS ANSWERING DEFENDANT ALLEGES:

36. Defendant is informed and believes, and thereon alleges, that the allegations of
the Complaint refer to obligations non-existent, not contracted for, and/or outside of any

agreements between this answering Defendant, and/or Plaintiffs, thus barring or diminishing

recovery of Plaintiffs herein.

FOR A THIRTY-SIXTH SEPARATE, AND DISTINCT AFFIRMATIVE
DEFENSE, THIS ANSWERING DEFENDANT ALLEGES:

37. Defendant is informed and believes, and thereon alleges, that any and all
agreements between this answering Defendant, and any Cross-Defendants and/or Plaintiffs, if

any, contain valid and enforceable limits of liability, which reduce or bar Plaintiffs’ recovery.

FOR A THIRTY-SEVENTH SEPARATE, AND DISTINCT AFFIRMATIVE
_ DEFENSE, THIS ANSWERING DEFENDANT ALLEGES:

38. Defendant is informed and believes, and thereon alleges, that any and all
agreements between this answering Defendant and Plaintiffs, and/or any other entities, if any,

preclude Defendant from being liable vicariously or for consequential damages from Plaintiffs.

FOR A THIRTY-EIGHTH SEPARATE, AND DISTINCT AFFIRMATIVE
DEFENSE, THIS ANSWERING DEFENDANT ALLEGES:

39. Without conceding that any act caused damage to Plaintiffs or any other person in
any respect, any alleged obligations of this answering Defendant should be offset by any

damages caused by Plaintiffs and/or any Defendants and/or any Cross-Defendants.

FOR A THIRTY-NINTH SEPARATE, AND DISTINCT AFFIRMATIVE

DEFENSE, THIS ANSWERING DEFENDANT ALLEGES:

40, Defendant alleges that the design, manufacture, and marketing of the alleged
products were in conformity with the “state of the art” existing at the time of such design,
manufacture, and marketing, Furthermore, Defendant alleges that liability (including, but not
limited to, strict liability) may not be imposed as to properly manufactured products distributed

with information regarding the risks of which the manufacturer knew at the time of manufacture,

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and liability may not be imposed for untold risks not known at the time of such design,

manufacture, and marketing of the product. Therefore, Plaintiffs’ claims are barred.

FOR A FORTIETH SEPARATE, AND DISTINCT AFFIRMATIVE
DEFENSE, THIS ANSWERING DEFENDANT ALLEGES:

41. If any dangerous or defective condition existed in the product sold by Defendant,
which is denied, said condition was caused and created by damage, abuse, or changes occurring
after the time the product left the custody or control of Defendant. Furthermore, Defendant
alleges based upon information and belief such risks were entirely unknown to this answering

Defendant, thus barring Plaintiffs’ recovery against this answering Defendant.

FOR A FORTY-FIRST SEPARATE, AND DISTINCT AFFIRMATIVE
DEFENSE, THIS ANSWERING DEFENDANT ALLEGES:

42. Defendant is informed and believes, and on that basis alleges, that after any
alleged product left the possession and control of Defendant, and without Defendant’s
knowledge or approval, the alleged product was redesigned, modified, altered, incorporated into
another product, or subjected to treatment that substantially changed its character. The alleged
defect in any mixed or integrated product, as alleged in the Complaint, resulted, if at all, from the
redesign, modification, alteration, treatment, mixture or other change of the product sold by
Defendant after Defendant relinquished possession and control over the product and not from

any act or omission by Defendant.

FOR A FORTY-SECOND SEPARATE, AND DISTINCT ANFIRMATIVE
DEFENSE, THIS ANSWERING DEFENDANT ALLEGES:

43, Plaintiff's’ claims are barred because the exclusive remedy for the Plaintiffs
alleged injuries, if any, is before the California Worker’s Compensation Appeals Board pursuant
to the exclusive remedy provisions of the California Worker’s Compensation Act (see California
Labor Code section 3600 et seq.)
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FOR A FORTY-THIRD SEPARATE, AND DISTINCT AFFIRMATIVE
DEFENSE, THIS ANSWERING DEFENDANT ALLEGES:

44, Plaintiffs’ claims are barred and precluded due to employee and/or employer

negligence.

FOR A FORTY-FOURTH SEPARATE, AND DISTINCT AFFIRMATIVE

DEFENSE, THIS ANSWERING DEFENDANT ALLEGES:;
45. Plaintiffs’ claims are barred and precluded due to any OSHA and/or CAL-OSHA

FOR A FORTY-FIFTH SEPARATE, AND DISTINCT AFFIRMATIVE

DEFENSE, THIS ANSWERING DEFENDANT ALLEGES:

46. Plaintiffs’ claims are barred and/or reduced by the offsets afforded under the

Worker’s Compensation system herein.

FOR A FORTY-SIXTH SEPARATE, AND DISTINCT AFFIRMATIVE
DEFENSE, THIS ANSWERING DEFENDANT ALLEGES:

47, Plaintiffs are barred from suing responding Defendant as Plaintiffs cannot satisfy

the requirements of Ray v. Alad.

FOR A FORTY-SEVENTH SEPARATE, AND DISTINCT AFFIRMATIVE
DEFENSE, THIS ANSWERING DEFENDANT. ALLEGES:

48. Plaintiffs are precluded, contractually and/or statutorily, from bringing this action

in this venue and/or jurisdiction.

FOR A FORTY-EIGHTH SEPARATE, AN D DISTINCT AFFIRMATIVE
DEFENSE, THIS ANSWERIN G DEFENDANT ALLEGES:

49. Plaintiff's are precluded, contractually and/or statutorily, by exclusive jurisdiction
and/or choice of law provisions pursuant to any agreement between this Answering Defendant,
and any other Defendants, Cross-Defendants and/or Plaintiffs.

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FOR A FORTY-NINTH SEPARATE, AND DISTINCT AFFIRMATIVE
DEFENSE, THIS ANSWERING DEFENDANT ALLEGES:

50, Plaintiffs are precluded from the relief sought herein because of the failure to
comply with mandatory dispute requirements pursuant to any agreements between this |

answering Defendant and any other Defendants, Cross-Defendants and/or Plaintiffs.

FOR A FIFTIETH SEPARATE, AND DISTINCT AFFIRMATIVE

DEFENSE, THIS ANSWERING DEFENDANT ALLEGES:
51. Any and all warranties accompanying the sale of this product alleged in the

Complaint, whether express or implied, have been effectively disclaimed.

FOR A FIFTY-FIRST SEPARATE, AND DISTINCT AFFIRMATIVE
DEFENSE, THIS ANSWERING DEFENDANT ALLEGES:

52. Plaintiffs’ claims are barred by the sophisticated user doctrine,
FOR A FIFTY-SECOND SEPARATE, AND DISTINCT AFFIRMATIVE
DEFENSE, THIS ANSWERING DEFENDANT ALLEGES:

53. This answering Defendant owed no duty to warn of the alleged danger because
Plaintiffs were a sophisticated user of the alleged product. 7
WHEREFORE, this answering Defendant prays that Plaintiffs, take nothing
against it by reason of the action herein, and that this answering Defendant has judgment against

Plaintiffs for costs incurred herein, and for such other and further relief as the Court deems just

and proper.

DATED: June 27, 2019 | OLSEN & BRUEGGEMANN, APC

By: Lata |\Z—
_ Mark Brueggeman, Esq.
Attorneys for Defendants,

thyssenkrupp Elevator Corporation

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THYSSENKRUPP ELEVATOR CORPORATION’S ANSWER TO COMPLAINT

 
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PROOF OF SERVICE:
(California Code of Civil Procedure § 1013A(3))

 

 

 

 

Tam employed in the County of Los Angeles, State of California, I am over the age of 18
years and not a patty to the within action; my business address is 2150 Park Place, Suite 100, El
Segundo, California 90245,

On June 27, 2019, I served the foregoing document described as: THYSSENKRUPP
ELEVATOR CORPORATION’S ANSWER TO COMPLAINT on the parties to this action
by placing a true copy thereof in a sealed envelope or package addressed to the person(s) at the
address(es) as set forth below and caused said envelope or package to be served in the following

manner: .
SEE SERVICE LIST BELOW

(By Mail) I caused such envelope or package with postage thereon fully prepaid to be
placed in the United States mail at El Segundo, California. I am readily familiar with
this firm's practice of collecting and processing correspondence for mailing. It is
deposited with the U.S. Postal Service on that same day in the ordinary course of
business. I am aware that on motion of the party served, service is presumed invalid if
postal cancellation date or postage meter date is more than one day after date of deposit

X__ for the mailing in affidavit.

(By Fax) I caused such documents to be faxed at.El Segundo, California. The
facsimile machine I used compiled with Rule 2.301 of the California Rules of Court,
and no error was reported by the machine. Pursuant to Rule 2.306(h), I caused the
machine to print a record of the transmission, a copy of which is attached to this

declaration,

(By Personal Service) I caused such envelope or package to be delivered by hand to the
addressee(s). .

(By Electronic Mail) Based oni a court order or an agreement of the parties to accept
service by e-mail or electronic transmission, I caused the document(s) to be sent from
e-mail address [add secretary email address] to the person(s)s at the e-mail address(es)
listed below. I did not receive, within a reasonable time after the transmission, any
electronic message or other indication that the transmission was unsuccessful.

(State) I declare under the penalty of perjury under the laws of the State of California
X__ that the foregoing is true and correct,

(Federal) I declare that I am employed in the office of a member of the bar of this court
at whose direction this service was made.

  

Executed on June 27, 2019 at El Segundo, California.

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THYSSENKRUPP ELEVATOR CORPORATION’S ANSWER TO COMPLAINT

 
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CORPORATION

 

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THYSSENKRUPP ELEVATOR CORPORATION'S ANSWER TO COMPLAINT

 
